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Attorneys for Defendant
Neutrogena Corporation

UNITED STATES DISTRICT COURT

CENTRAL DISTRICT oe CV 1" Ba Nb? | £6 K
‘on
MARA CHOW, individually and on hp
behalf of all others similarly situated, Case No. ( KK 2\
Los Angeles County Superior Court “
Plaintiff, ase No-BC483371)
; DEFENDANT NEUTROGENA
Vv. CORPORATION’S NOTICE OF
REMOVAL

NEUTROGENA CORP., a Delaware
Covpovati On) and DOES | through (00, (28 U.S.C. §§ 1332(d), 1441 and 1453)

inclusrve,
' Defendants.

 

 

DEFENDANT NEUTROGENA’S
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ASE 2:12-cv-04624-R

 

 

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TO THE CLERK OF THE UNITED STATES DISTRICT COURT FOR THE
CENTRAL DISTRICT OF CALIFORNIA:

PLEASE TAKE NOTICE that Neutrogena Corporation (“Neutrogena”), the
only named defendant in the above-titled action, hereby removes this action
pursuant to 28 U.S.C. $$ 1332, 1441, 1446 and 1453 from the Superior Court for the
State of California for the County of Los Angeles to the Untied States District Court
for the Central District of California. Removal is proper because this is a putative
class action “brought in a State court of which the district courts of the United States
have original jurisdiction.” 28 U.S.C. §§ 1441(a) & 1453(b). Specifically, this
action satisfies the jurisdictional prerequisites under the Class Action Fairness Act
(“CAFA”). Minimal diversity exists because Neutrogena is a citizen of Delaware
and California and the putative class includes citizens of other states who purchased
certain Neutrogena products. Additionally, the amount in controversy exceeds $5
million dollars. This Notice of Removal is timely because it has been filed within
thirty days of the date Defendant was served with the summons and complaint. See
28 U.S.C. § 1446(b). Thus, this Court has original jurisdiction over this action
based upon diversity of citizenship. 28 U.S.C. § 1332(d)(2).

I. BACKGROUND

A. Timeliness of Removal

On April 24, 2012, Plaintiff Mara Chow (“Plaintiff”) commenced this action
by filing a Summons and Class Action Complaint in the Superior Court for the State
of California for the County of Los Angeles captioned Mara Chow, individually and
on behalf of all others similarly situated vs. Neutrogena Corp., a Delaware
Corporation; and Does | through 100, inclusive, No. BC483371. A true and correct
copy of the Summons and Complaint is attached hereto as Exhibit A. Neutrogena
was served with a copy of the Summons and Complaint by process server on April

25, 2012. (Declaration of Jaclyn Blankenship § 2.) On May 8, 2012, Neutrogena

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filed a Notice of Related Cases. A true and correct copy of the Notice of Related
Cases is attached as Exhibit B. This Notice of Removal is timely because it is filed
within thirty days of the April 25, 2012 service of the Summons and Complaint. See
28 U.S.C. § 1446(b).

B. Plaintiff's putative nationwide class action complaint

Plaintiff alleges that Neutrogena engaged in allegedly misleading business
practices with respect to the labeling and advertising of certain Neutrogena products
(“Products”).' Plaintiff brings claims under California’s Unfair Competition Law
(“UCL”), Cal. Bus. & Prof. Code §§ 17200 et seq. (Count I), False Advertising Law
(“FAL”), Cal. Bus. & Prof. Code §§ 17500 et seq (Count I), Consumer Legal
Remedies Act (““CLRA”), Civil Code § 1750 et seq. (Count III), as well as a Breach
of Express Warranty claim (Count IV) on behalf of herself and “all persons residing
in the United States who purchased” these Products from February 15, 2008 to
present. (Compl. { 16.)

Plaintiff seeks, inter alia, an order enjoining the allegedly misleading
business practices (Compl. § 52) and “restitution and damages” to the consumers
who purchased these Products. (Compl. { 39, 52, 62.) Plaintiff alleges that the
putative nationwide class comprises “many thousands of persons throughout the
United States and California” and that “millions of units of the Products have been
sold in the United States and State of California during the Class Period.” (Compl. §
17.) Plaintiff also alleges that Neutrogena’s alleged misleading business practices
“result[ed] in profits of millions of dollars or more to Neutrogena” (Compl. {/ 15; see

also Compl. { 41.)

 

' As used herein, “Products” refers to the products identified by Plaintiff in her
complaint.

DEFENDANT NEUTROGENA’S
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1. CAFA JURISDICTION

Federal diversity jurisdiction exists over this removed action pursuant to 28
U.S.C. § 1332(d). Section 1332(d) provides that the United States District Courts
have original jurisdiction over any class action: (1) involving a plaintiff class of 100
or more members; (2) in which the matter in controversy exceeds (in the aggregate)
the sum or value of $5,000,000, exclusive of interest and costs; and (3) where at
least one member of the plaintiff class is a citizen of a Statue different from any
defendants. See 28 U.S.C. § 1332(d)(2)(A) & 5(B).

A. | The Putative Nationwide Class Consists of Over 100 Class

Members.

Plaintiffs Complaint purports to be filed on behalf of a class comprised of
“All persons residing in the United States who purchased the Products for personal
use and not for resale during the time period February 15, 2008, through the
present.” (Compl. § 16a.) Plaintiff alleges that “[t]he Class comprises many
thousands of persons throughout the United States and California.” (Compl. {| 17.)
While Neutrogena denies that any class exists here or that any class could be
certified pursuant to Rule 23, Plaintiff's allegations within the Complaint satisfy the
100 person requirement of CAFA. See 28 U.S.C. § 1332(d)(5)(B).

B. Diversity of Citizenship Exists as Required by CAFA.

Diversity of citizenship exists between Neutrogena and putative members of
the class. For a putative class action that meets the other requirements of CAFA,
diversity of citizenship exists if “any member of a class of plaintiffs” has diverse
citizenship from at least one defendant. 28 U.S.C. § 1332(d)(2)(A). Neutrogena is
incorporated in Delaware and is headquartered in Los Angeles, California. Thus,
for diversity purposes, Neutrogena is a citizen of both Delaware and California. See

Hertz Corp. v. Friend, 130 S.Ct. 1181, 1184 (U.S. 2010).

3 DEFENDANT NEUTROGENA’S
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Plaintiff alleges that she resides in Los Angeles County, California, and has
done so at all relevant times. (Compl. { 10.) Plaintiff also allegedly purchased the
products in Los Angeles County, California. (Compl. 10.) On information and
belief, Plaintiff is a citizen of the United States and intends for California to be her
permanent home. Consequently, Plaintiff is a citizen of the State of California. See
Kanter v. Warner-Lambert Co., 265 F.3d 853, 857 (9th Cir. 2001).

Plaintiff also alleges, however, that the putative nationwide class consists of
“many thousands of persons throughout the United States and California.” Compl.
17 (emphasis added). The Products at issue are sold throughout the United States,
including in states other than California or Delaware. (See Declaration of John
Lottier (“Lottier Decl.) § 2.) Accordingly, at least one putative class member is not
a citizen of Delaware or California, thereby satisfying minimal diversity for
purposes of CAFA jurisdiction. 28 U.S.C. § 1332(d)(2)(A).

C. The Amount in Controversy Exceeds $5 million.

Under CAFA, the amount in controversy requirement is satisfied if the claims
of the putative class exceed, in the aggregate, $5 million, exclusive of interest and
costs. 28 U.S.C. § 1332(d)(6). Although Neutrogena disputes liability and
damages, the requirement is satisfied if Plaintiff's claims on behalf of herself and
the putative nationwide class would, if granted, exceed $5 million. See Korn v. Polo
Ralph Lauren Corp., 536 F. Supp. 2d 1199, 1205 (E.D. Cal. 2008) (“In measuring
the amount in controversy, a court must assume that the allegations of the complaint
are true and that a jury will return a verdict for the plaintiff on all claims made in the
complaint. The ultimate inquiry is what amount is put ‘in controversy’ by the
plaintiff's complaint, not what a defendant will actually owe.”) (citations omitted,
emphasis added).

Here, Plaintiff seeks in excess of $5 million in the aggregate. Plaintiff seeks

compensatory damages, restitution, punitive damages and attorneys fees. (Compl.

4 DEFENDANT NEUTROGENA’S
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“52, 62, 73 and Prayer C, D, F, and G.) Among other things, Plaintiff alleges that
she “and the Class have been damaged in the amount of the purchase price of the
Products they purchased.” (Compl. { 78.) The retail price for the Products ranges
from $11.99 to $21.99, (Lottier Decl. § 3) and Plaintiff alleges that Neutrogena
“sold millions of units of the Products” during the Class Period. (Compl. § 37; see
also § 17.) As of the date of this notice, total nationwide retail sales since February
15, 2008 of the Products at issue in the Complaint have, in the aggregate, exceeded
$5 million. (Lottier Decl. { 4.) Thus, although Neutrogena disputes that either
Plaintiff or the members of the putative class have suffered any injury or are entitled
to any recovery, the amount in controversy in this case exceeds $5 million. See
Lewis v. Verizon Comm’ns Inc., 627 F.3d 395 (9th 2010) (defendant’s affidavit
demonstrated by a preponderance of the evidence that the amount in question
exceeded $5 million).

D. No Exception to CAFA applies.

CAFA contains a number of exceptions which, where applicable, prevent the
Court from exercising jurisdiction over a class action, even where that class action
meets CAFA’s threshold requirements triggering diversity jurisdiction. It is
plaintiff's burden, however, not defendant’s, to demonstrate that an exception
applies. Serrano v. 180 Connect, Inc., 478 F.3d 1018, 1023-24 (9th Cir. 2007)
(requiring party seeking remand to demonstrate the applicability of the “home state”
and “local controversy” exceptions to CAFA); Korn v. Polo Ralph Lauren Corp.,
536 F. Supp. 2d 1199, 1206 (E.D. Cal. 2008). |

In any event, Plaintiff will be unable to demonstrate that either exception
applies here because California citizens do not comprise two-thirds of the putative
nationwide class. Both the home state and the local controversy exception require
that at least two-thirds of the putative class members be citizens of the same state as

Neutrogena. See 28 U.S.C. §§ 1332(d)(4)(A) (local controversy), 1332(d)(4)(B)

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(home state). Since the Products were sold throughout the United States, the
putative nationwide class is not primarily comprised of Californian citizens and no
exception to CAFA jurisdiction applies here.
Hl. VENUE

Plaintiffs state court action was commenced in the Superior Court of the
State of California for the County of Los Angeles and, pursuant to 28 U.S.C. §§
84(c), 1441(a), 1446(a) and (b), and 1453(b) may be removed to this United States
District Court for the Central District of California, which embraces Los Angeles
County within its jurisdiction.
IV. NOTICE

Pursuant to 28 U.S.C. § 1446(d), a copy of this Notice of Removal is being
contemporaneously filed with the Clerk of the Superior Court for the State of
California for the County of Los Angeles and served upon Plaintiff.
Vv. CONCLUSION

In sum, this Court has removal jurisdiction over this action under 28 U.S.C.
$$ 1441(a) and 1453(b) because minimal diversity exists, the amount in controversy
exceeds $5 million, and this Notice has been filed within thirty days of Neutrogena
being served with the complaint. See 28 U.S.C. § 1446(b). As such, Neutrogena,

the sole named defendant in the above-titled action, respectfully removes this action

6 DEFENDANT NEUTROGENA’S
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from the Superior Court for the State of California for the ae of Los Angeles
(Case No. BC483371), to this Court pursuant to 28 U.S.C. §§ 1332, 1441, 1446 and
1453.
Dated: May 25, 2012 O’MELVENY & MYERS LLP
By: \ &v Q pwole—_——
cap yn a Blankenship
Attorneys for Defendant
Neutrogena
7 DEFENDANT NEUTROGENA’S
NOTICE OF REMOVAL

 

 
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EXHIBIT A
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NEUTROGENA CORP., a Delaware Corporation; and DOES | though

100, inclusive APR 24 2012
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Mara Chow, individually and on behalf of all others similarly situated - Deputy

 

 

NOTICE! You have been sued. The court may decide againsi you without your being heard Uniess you respond within 30 days. Read the information
below

‘You have 30 CALENDAR DAYS after this summons and legal papers are served on you to fle 4 written response at this court and have a copy
served on the plaingff. A latier or phone call will not protect you. Your writien response must be in proper legal form if you wan the court to hear your
case. There may be a court form thet you can use for your response. You can find these court forms and more information at the Calfornia Courts
Online Self-Help Center (www. courtinio.ca.gowselhelp), your county law library. or the courthouse naarest you. if you cannot pay the fing fee, ask
tha court derk lor a fee waiver form. if you do not fe your response on me, you may lose the case by default, and your wages, money. and property
may be taken without further warming from the court.

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thesa nonprofit groupe at the Califomia Legal Services Web site (www lawhelpcaifomia.org), the Califomia Courts Online Seit-Help Center
(eww. courtinfo.ca.gov/selheip), or by contacting your local court or county bar association. NOTE: The court has 2 statutory lien for weived fees. and
costs on any settiement or arbitration awerd of $10,000 or more in a civil case. The court's len must be paid before the court will dismiss the case.
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Superior Court of California, Los Angeles -
111 N. Hill Street, Los Angeles, CA 90012 ij
The name, address, and telephone number of plaintiff's attorney, or plaintiff without an att
(El nombre, la direccién y ef numero de teidfono del abogado dei demandante, o del demand we no ene abogado, es): >
Ryan J. Clarkson, Red Law, LLP, 100 Wilshire Blvd., Ste. 950, Santa Monica, 3

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MOTICE TO THE PERSON SERVED: You are served |
SEMI 4. (C7) as an individual defendant.

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3, (22 on benalt of (specify): Neutrogena Corp.

 

 

 

 

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Ryan J. Clarkson, State Bar No. 257074
rclarkson@redlawilp.com

Edward D. Dubendorf, State Bar No. 275456
edubendorf@redlawilp.com

RED LAW, LLP

100 Wilshire Bivd., Suite 950

Santa Monica, CA 90401

Tel: (310) 917-1070

Fax: (310) 917-1001

Attomeys for Plaintiff Mara Chow and the
Plaintiff Class

MARA CHOW, individually and on behalf of all
others similarly situated,

Plaintiff,
vs.

NEUTROGENA CORP., a Delaware
Corporation; and DOES | through 100,
inclusive,

Defendants.

 

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SUPERIOR COURT FOR THE STATE OF CALIFORNIA
COUNTY OF LOS ANGELES

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Plaintiff Mara Chow, individually and on behalf of all other similarly situated purchasers (the
ass”) of a series of purported “anti-aging” products, including Neutrogena Rapid Wrinkle Repair
SPF 30, Neutrogena Rapid Wrinkle Repair Night, Neutrogena Rapid Wrinkle Repair Serum,
Neutrogena Rapid Wrinkle Repair Eye, Neutrogena Healthy Skin Anti-Wrinkle Cream SPF 15, and
Neutrogena Healthy Skin Anti-Wrinkle Cream ~— Night (collectively referred to herein as the

CLASS ACTION COMPLAINT

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FALSE AND MISLEADING
ADVERTISING IN VIOLATION OF
BUSINESS AND PROFESSIONS CODE _
§ 17200, ef seq.

FALSE AND MISLEADING
ADVERTISING IN VIOLATION OF
BUSINESS AND PROFESSIONS COD
§ 17500, er seg.

VIOLATION OF CALIFORNIA CIVIL
CODE § 1750, et seg. (Consumers. Legal
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BREACH OF EXPRESS WARRANTY

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“Products” or individually as a “Product”), brings this complaint against Neutrogena Corp., a
Delaware Corporation (“Neutrogena” or “Defendant”), and Does | through 100, inclusive

(sometimes collectively referred to herein as “Neutrogena” or “Defendants”) and allege as follows:

L.
NATURE OF THE ACTION

1. In its labeling and advertising of the Products, Neutrogena claims that the Products
are “¢linically proven” and can (1) cause a person to look younger, and (2) prevent and repair
wrinkles, fine lines, age spots, or other signs of aging within one week. Neutrogena manufactures,
markets, sells, and distributes the Products to all consumers irrespective of age, skin type, skin
tone, or other dermatological specific factors. Those consistent and uniform claims are false. In
reality, the Products neither cause a person to look younger nor prevent or repair wrinkles, fine
lines, age spots, or other signs of aging within one week.

2. Neutrogena claims the Products are comprised of a “unique combination” of Retinol
SA, Glucose Complex, and Hyaluronic Acid. However, research regarding the efficacy of retinol-
based creams and lotions, like the Products, remains incomplete and inconclusive. In fact, no
reliable and consistent scientific studies exist which “prove” the efficacy of Retinol SA, either
alone or in combination with Glucose Complex or Hyaluronic Acid, in preventing and repairing
wrinkles, fine lines, age spots, or other signs of aging within one week.

3. On January 17, 2012, the National Advertising Division of the Better Business
Bureau (“NAD”) reported the results of its examination into the validity of Neutrogena’s Rapid
Wrinkle Repair claims as part of its ongoing monitoring program. The NAD concluded that none
of the testing proffered by Neutrogena supported Neutrogena’s claims that “Rapid Wrinkle Repair
substantially reduces or eliminates wrinkles in just one week.” The NAD then recommended that
Neutrogena modify its claim that the Products smooth wrinkles in just one week “to avoid
conveying the unsupported message that wrinkles are substantially reduced or eliminated in one
week.”

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CLASS ACTION COMPLAINT

 

 

 

 

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4, Accordingly, this is a class action for restitution and injunctive relief against
Neutrogena for false and misleading advertising in violation of Business & Professions Code
Section 17200, er seq., Business & Professions Code Section 17500, er seq., and Civil Code
Section 1750, ef seq.

5. By letter dated February 15, 2012, Plaintiff advised Neutrogena of its false and
misleading claims pursuant to California Civil Code Section 1782(a). However, Neutrogena never
responded.

t.
JURISDICTION AND VENUE

6. This Court has jurisdiction over all causes of action asserted herein pursuant to the
California Constitution, Article V1, § 10, because this case is a cause not given by statute to other
trial courts. Plaintiff has standing to bring this action pursuant to Business & Professions Code §
17200, et seq.

7. Venue is proper in this Court because Plaintiff resides in Los Angeles County and
purchased the Products in Los Angeles County. Neutrogena receives substantial compensation
from sales in Los Angeles County, and Neutrogena made numerous misrepresentations which had
a substantial effect in Los Angeles County, including, but not limited to, magazine, label, radio,
television, point of purchase displays, and internet advertisements.

8. Upon information and belief, said misrepresentations originated and/or emanated
from the State of California.

9. Neutrogena and other out-of-state participants can be brought before this Court
pursuant to the provisions of Code of Civil Procedure § 395.5. |

HL
PARTIES
10. Plaintiff is, and at all times relevant hereto was, an individual residing in Los

Angeles County, California. Plaintiff purchased the Products in Los Angeles County. In doing

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CLASS ACTION COMPLAINT

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Santa Monica, CA 90401

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so, Plaintiff relied upon advertising and other promotional material which were prepared and
approved by Neutrogena and its agents and disseminated through national advertising media,
containing the misrepresentations alleged herein and designed to encourage men and women
seeking assistance in preventing and repairing wrinkles, fine lines, age spots, or other unsightly
and/or embarrassing signs of aging to purchase the Products. Although Plaintiff used the Products
as. instructed, Plaintiff did not experience any of the advertised benefits, including “prevention” or
“repair” of her wrinkles, fine lines, age spots, or other signs of aging whatsoever, let alone within
one week, as a result of using the Products. .

11. Neutrogena is a corporation organized under the laws of the State of Delaware and
headquartered in Los Angeles, California. Neutrogena was established in 1930 to develop and
commercialize cosmetic products. Neutrogena maintains its prineipal business office at 5760 W.
96" Street, Los Angeles, CA 90045. Neutrogena, directly and through its agents, has substantial
contacts with and receives substantial benefits and income from and through the State of
Califomia. Neutrogena is the owner, manufacturer, and distributor of the Products, and is the
company that created and/or authorized the false, misleading, and deceptive advertisements and/or
packaging and labeling for the Products.

12. The true names and capacities, whether individual, corporate, associate, or otherwise
of certain manufacturers, distributors, and/or their alter egos sued herein as DOES | through 100
inclusive are presently unknown to Plaintiff who therefore sues these individuals and/or entities
by fictitious names. Plaintiff will seek leave of this Court to amend the Complaint to show their
true names and capacities when the same have been ascertained. Plaintiff is informed and
believes and based thereon alleges that DOES | through 100 were authorized to do and did
business in Los Angeles County. Plaintiff is further informed and believes and based thereon
alleges that DOES | through 100 were and/or are, in some manner or way, responsible for and
liable to Plaintiff for the events, happenings, and damages hereinafter set forth below.

13. Plaintiff is informed and believes, and based thereon alleges that at all times relevant
herein each of these individuals and/or entities was the agent, servant, employee, subsidiary,

affiliate, partner, assignee, successor-in-interest, alter ego, or other representative of each of the

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remaining defendants and was acting in such capacity in doing the things herein complained of
and alleged.

14. In committing the wrongful acts alleged herein, Neutrogena planned and participated
in and furthered a common scheme by means of false, misleading, deceptive, and fraudulent
representations to induce members of the public to purchase the Products. Neutrogena
participated in the making of such representations in that each did disseminate or cause to be
disseminated said misrepresentations.

15. Neutrogena, upon becoming involved with the manufacture, advertising, and sale of
the Products, knew or should have known that the claims about the Products and, in particular, the
claims suggesting and/or outright stating that the Products could, in any way, cause the advertised
benefits, were false, deceptive and misleading. Neutrogena affirmatively misrepresented the
“benefits” of the Products in order to convince the public and the Products’ users to purchase and
use the Products, resulting in profits of millions of dollars or more to Neutrogena, all to the
damage and detriment of the consuming public. Thus, in addition to the wrongful conduct herein
alleged as giving rise to primary liability, Neutrogena further aidéd and abetted and knowingly

assisted each other in breach of their respective duties and obligations as herein alleged.

IV.
CLASS ACTION ALLEGATIONS
16. Plaintiff brings this action on their own behalf and on behalf of all other persons
similarly situated. The Classes which Plaintiff seeks to represent are:

a. All persons residing in the United States who purchased the Products for personal
use and not for resale during the time period February 15, 2008, through the present.
Excluded from the Class are Neutrogena’s officers, directors, and employees, and
any individual who received remuneration from Neutrogena in connection with that
individual’s use or endorsement of the Products.

b. All persons residing in the State of California who purchased the Products for
personal use and not for resale during the time period February 15, 2008, through

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the present. Excluded trom the Class are Neutrogena's officers, directors, and
employees, and any individual who received remuneration from Neutrogena in
connection with that individual’s use or endorsement of the Products.

17, The Class comprises many thousands of persons throughout the United States and
California, the joinder of whom is impracticable, and the disposition of their claims in a Class
Action will benefit the parties and the Court. The Class is sufficiently numerous because millions
of units of the Products have been sold in the United States and State of California during the
Class Period.

18. There is a well-defined community of interest in the questions of law and fact
involved affecting the parties to be represented. The questions of law and fact common to the
Class predominate over questions which may affect individual Class members. Common
questions of law and fact include, but are not limited to, the following:

| a. Whether Neutrogena possesses competent and reliable scientific evidence to support
its label and advertising claims;
b. Whether Neutrogena’s conduct is an unlawful business act or practice within the
meaning of Business and Professions Code section 17200, et seq.;
¢. Whether Neutrogena’s conduct is a fraudulent business act or practice within the
meaning of Business and Professions Code section 17200, et seq.;
d. Whether Neutrogena's advertising is untrue or misleading within the meaning of
Business and Professions Code section 17500, er seq.;
e. Whether Neutrogena made false and misleading representations in their advertising
and packaging of the Products;
f. Whether Neutrogena knew or should have known that the representations were false;
and
g. Whether Neutrogena represented that the Products have characteristics, benefits, uses,
or quantities which the Products do not have.
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19. Plaintiff's claims are typical of the claims of the Class, and Plaintiff will fairly and
adequately represent and protect the interests of the Class. Plaintiff has retained competent and
experienced counsel in class action and other complex litigation.

20. Plaintiff and the Class have suffered injury in fact and have lost money as a result of
Neutrogena’s false representations. Indeed, Plaintiff purchased the Products because of the claims
by Neutrogena that the Products were “clinically proven” and capable of preventing and repairing
wrinkles, fine lines, age spots, atid other signs of aging within one week. Plaintiff relied on
Neutrogena’s representations and would not have purchased the Products if she had known that the
advertising as described herein was false.

21. Aclass action is superior to other available methods for fair and efficient adjudication
of this controversy. The expense and burden of individual litigation would make it impracticable
or impossible for Class members to prosecute their claims individually.

22. The trial and litigation of Plaintiff's claims are manageable. Individual litigation of
the legal and factual issues raised by Neutrogena's conduct would increase delay and expense to all
parties and the court system. The class action device presents far fewer management difficulties
and provides the benefits of a single, uniform adjudication, economies of scale, and comprehensive
supervision by a single court.

23. Neutrogena has acted on grounds generally applicable to the entire Class, thereby
making final injunctive relief and/or corresponding declaratory relief appropriate with respect to
the Class as a whole. The prosecution of separate actions by individual Class members would
create the risk of inconsistent or varying adjudications with respect to individual members of the
Class that would establish incompatible standards of conduct for Neutrogena.

24. Absent a class action, Neutrogena will likely retain the benefits of their wrongdoing.
Because of the small size of the individual Class members’ claims, few, if any, Class members
could afford to seek legal redress for the wrongs complained of herein. Absent a representative
action, the Class members will continue to suffer losses and Neutrogena will be allowed to
continue these violations of law and to retain the proceeds of their ill-gotten gains.

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FACTUAL BACKGROUND

25. It is well known that how a person ages is controlled by his or her genes. Intrinsic
aging, also known as the natural aging process, is the key cause of wrinkle, fine lines, and other
signs of aging. Intrinsic aging begins in the mid-20’s and involves slowing in the production of
collagen and elastin. Dead cells do not shed as quickly and turnover of new skin cells decreases.

26. Retinol is among the most common ingredients in creams and lotions that claim to
cause a person to look younger. Research regarding the efficacy of such creams and lotions,
however, remains incomplete and inconclusive. In fact, no reliable and consistent scientific
studies “prove” the efficacy of retinol in preventing and repairing wrinkles, fine lines, age spots,
or other signs of aging within one week.

27. Even if there existed well-settled, scientific substantiation that retinol-based topical
applications like the Products can make a person look younger or prevent and repair wrinkles, fine
lines, age spots, or other signs of aging within one week (there is not), the dosage of retinol in the
Products is so negligible as to make it impossible to cause the advertised effect.

28. Despite this, Defendant markets and advertises the Products in a false and deceptive
manner. Defendant does so through a uniform and consistent message that the Products can
effectuate an impossible result, thereby tempting a vulnerable class of people with the hope of a
quick fix or a way to avoid the embarrassing exterior effects of intrinsic aging. Defendant has
disseminated this uniform message on the product labels and packaging, as well as through a
broad range of media, including, by way of example and without limitation, print media. web site,
point-of-purchase displays, and the like.

29. Defendants’ advertising, including print, packaging, television and radio advertising,
conveys a single, consistent false and misleading message to consumers: that the Products are
“clinically proven” and can prevent and repair wrinkles, fine lines, age spots, or other signs of
aging within one week.

30. The false and misleading representations concerning the advertising, marketing, and

packaging of Neutrogena Rapid Wrinkle Repair SPF 30 include the following:

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9of66 Page ID #:19

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“Rapid Wrinkle Repair;”

“clinically proven,”

“visibly fade the look of stubbom wrinkles — including crow’s feet, forehead & cheek
wrinkles;”

“helps to smooth wrinkles fast and diminish the look of age spots;”

“renews the look of skin throughout the day;” and

“Skin is left feeling smooth and looking younger.”

The false and misleading representations concerning the advertising, marketing, and

packaging of Neutrogena Rapid Wrinkle Repair Night include the following:

“Rapid Wrinkle Repair;”

“clinically proven;”

“visible results in just one week;”

“Visible fade the look of stubborn wrinkles with our fastest Retinol formula
available! So effective, 100% of women tested had noticeable results in just one
week;”

“helps to smooth wrinkles fast and diminish the look of age spots;”

“renews the look of skin throughout the day;” and

“Skin is left feeling smooth and looking younger.”

The false and misleading representations concerning the advertising, marketing, and

packaging of Neutrogena Rapid Wrinkle Repair Serum include the following:
a. “Rapid Wrinkle Repair;”

“clinically proven;”

“visible results in just one week;”

“instantly smoothes skin and delivers visible results in just one week!;”
“renews the look of skin throughout the day;”

“smooth wrinkles fast and diminish the look of age spots;” and

“Skin is left feeling smooth and looking younger.”

The false and misleading representations concerning the advertising, marketing, and

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CLASS ACTION COMPLAINT

 
Case 2:12-cv-04624-R- Document 1. Filed 05/25/12 Pag

  

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I packaging of Neutrogena Rapid Wrinkle Repair Eye include the following:
2 a. “Rapid Wrinkle Repair,”

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“clinically proven,”

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. “visible results in just one week;”
d. “targets fine lines and crow’s feet;”

e. “renews the look of skin throughout the day;”

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7 f. “fade the look of stubborn crow’s feet;”

8 g. “Brighten and even under eye area;”

9 h. “Smooth fine lines and texture,”

0 i. “Reduce the look of dark circles.”

1 34. The false and misleading representations concerning the advertising, marketing, and
12 packaging of Neutrogena Healthy Skin Anti-Wrinkle Cream SPF 15 include the following:

13 a. “Anti-Wrinkle Cream;”

b. “clinically proven;”

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15 c. “Visibly reduces appearance of fine lines, wrinkles[,] and age spots,”

16 d. “It’s clinically proven to both treat and help prevent fine lines, wrinkles[,] and other
17 signs of aging;”

18 | e. “even out skin tone;” and

19 f. “Fine lines, wrinkles[,] and other signs of aging are visibly reduced.”

20 35. The false and misleading representations concerning the advertising, marketing, and

2) packaging of Neutrogena Healthy Skin Anti-Wrinkle Cream — Night include the following:

22 a. “Anti-Wrinkle Cream,”

23 b. “clinically proven,”

24 c. “Visibly reduces appearance of fine lines, wrinkles[,] and age spots;” and

25 d. “Softens and smoothes skin.”

26 36. These claims (as well as others) about the Products are false and misleading.

27 || Neutrogena cannot substantiate any of the claims about the Products, nor does it have a

28 || reasonable scientific basis to make such assertions. and its claims of preventing and repairing

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wrinkles, fine lines, age spots, or other signs of aging within one week are false and misleading.
37. During the course of this deception, Neutrogena has sold millions of units of the
Products based upon the false promises and misleading advertisements targeted at sel{-conscious

men and women.

. 38. Plaintiff and the Class have suffered injury in fact and have lost money as a result of
Neutrogena’s false representations. Indeed, Plaintiff purchased the Products because of the
claims by Neutrogena that the Products were “clinically proven” and capable of preventing and
repairing. wrinkles, fine lines, age spots, and other signs of aging within one week. Plaintiff
would not have purchased the Products if she had known that the advertising as described herein
was false.

39. Neutrogena’s false and misleading statements should be enjoined in due to the lack
of scientific and other evidence that supports Neutrogena’s outrageous claims of being able to
prevent and repair wrinkles, fine lines, age spots, or other signs of aging within one week. In
addition, Neutrogena should be compelled to provide restitution and damages to those innocent
consumers that Neutrogena duped into spending money on a product which, quite simply, is
incapable of effectuating the advertised benefits.

40. Neutrogena is aware that, unless information is placed on the front of its packaging,
the vast majority of consumers do not “discover” that information in a timeframe sufficient to
make an “informed choice” about purchasing the Products.

41. Through its false and deceptive claims, Neutrogena has been successful in duping
consumers into purchasing the Products and, in the process, making millions of dollars for
Neutrogena.
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FIRST CAUSE OF ACTION
FALSE AND MISLEADING ADVERTISING IN VIOLATION OF BUSINESS &
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(By Plaintiff against all Defendants)

42. Plaintiff repeats and realleges the allegations set forth above, and incorporate the
same as if set forth herein at length.

43. This cause of action is brought pursuant to Business and Professions Code § 17200,
et seq., on behalf of a Class consisting of all persons who purchased the Products in the United
States for personal use and not for resale during the time period February 15, 2008 through the
present. Excluded from the Class are Neutrogena’s officers, directors, and employees, and any
individual who received remuneration from Neutrogena in connection with that individual’s use
or endorsement of the Products.

44. In the alternative, this cause of action is brought pursuant to Business and
Professions Code § 17200, er seg., on behalf of a Class consisting of all persons who purchased
the Products in the State of Califomia for personal use and not for resale during the time period
February 15, 2008 through the present. Excluded from the Class are Neutrogena’s officers,
directors, and employees, and any individual who received remuneration from Neutrogena in
connection with that individual’s use or endorsement of the Products.

45. In the advertising of the Products, Neutrogena makes false and misleading
statements regarding the benefits and the efficacy of the Products, particularly as the same applies
to the purported ability to prevent and repair wrinkles, fine lines. age spots, or other signs of aging
within one week.

46. Neutrogena does not have the requisite competent and reliable scientific evidence to
support the claims about the Products made in Neutrogena’s advertising, nor does Neutrogena
have a reasonable basis to make the assertions it makes.

47. Neutrogena is aware that the claims that it makes about the Products are false,

misleading, unsubstantiated, and unreasonable.

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NATIONWIDE LEGAL EXPRESS

48. As alleged in the preceding paragraphs, the misrepresentations by Neutrogena of the
material facts detailed above constitutes an unfair and fraudulent business practice within the
meaning of California Business & Professions Code § 17200.

49, In addition, Neutrogena’s use of various forms of advertising media to advertise, call
attention to, or give publicity to the sale of goods or merchandise that are not as represented in
any manner constitutes unfair competition, unfair, deceptive, untrue or misleading advertising,
and an unlawful business practice within the meaning of Business & Professions Code §§ 17200
and 17531, which advertisements have deceived and are likely to deceive the consuming public,
in violation of Business & Professions Code § 17500.

50. There were reasonably available alternatives to further Neutrogena’s legitimate
business interests, other than the conduct described herein.

51. All of the conduct alleged herein occurs and continues to occur in Neutrogena’s
business. Neutrogena’s wrongful conduct is part of a pattern or generalized course of conduct
repeated on thousands of occasions daily.

52. Pursuant to Business & Professions Code §§ 17203 and 17535, Plaintiff and the
members of the Class seek an order of this Court enjoining Neutrogena from continuing to
engage, use, or employ their practice of advertising the sale and use of the Products. Likewise,
Plaintiff and the members of the Class seek an order requiring Neutrogena to disclose such
misrepresentations, and additionally request an order awarding Plaintiff restitution of the money
wrongfully acquired by Neutrogena by means of responsibility attached to Neutrogena’s failure to
disclose the existence and significance of said misrepresentations.

53. Plaintiff and the Class have suffered injury in fact and have lost money as a result of
Neutrogena’s false representations. Indeed, Plaintiff purchased the Products because of the
claims by Neutrogena that the Products were “clinically proven” and capable of preventing and
repairing wrinkles, fine lines, age spots, and other signs of aging within one week. Plaintiff
would not have purchased the Products if she had known that the claims and advertising as
described herein were false.

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SECOND CAUSE OF ACTION
FALSE AND MI ADING ADVERTISI IN VIOLATI USI
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(By Plaintiff against all Defendants)

54. Plaintiff repeats and realleges the allegations set forth in the preceding paragraphs,

and incorporates the same as if set forth herein at length.

55. This cause of action is brought pursuant to Business and Professions Code § 17200,
et seq.,.on behalf of a Class consisting of all persons who purchased the Products in the State of

California for personal use and not for resale during the time period February 15, 2008 through
the present. Excluded from the Class are Neutrogena’s officers, directors, and employees, and
any individual who received remuneration from Neutrogena in connection with that individual’s
use or endorsement of the Products.

56. In the alternative, this cause of action is brought pursuant to Business and
Professions Code § 17200, ef seq., on behalf of a Class consisting of all persons who purchased
the Products in the United States for personal use and not for resale during the time period
February 15, 2008 through the present. Excluded from the Class are Neutrogena’s officers,
directors, and employees, and any individual who received remuneration from Neutrogena in
connection with that individual’s use or endorsement of the Products.

57. In their advertising of the Products, Neutrogena makes false and misleading
statements regarding the benefits and the efficacy of the Products, particularly as the same applies
to the prevention and repair of wrinkles, fine lines, age spots, or other signs of aging within one
week, all as set forth above.

58. Neutrogena does not have any competent and reliable scientific evidence to support
the claims about the Products made in Neutrogena’s advertising, nor do they have a reasonable
basis to make such claims.

59. Neutrogena is aware that the claims that they make about the Products are false,

misleading, unsubstantiated, and unreasonable.

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5 of 66 Page ID #:25

  

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60. As alleged in the preceding paragraphs, the misrepresentations by Neutrogena of the
material facts detailed above constitutes an unfair and fraudulent business practice within the
meaning of California Business & Professions Cade § 17200.

61. In addition, Neutrogena’s use of various forms of advertising media to advertise, call
attention to or give publicity to the sale of goods or merchandise that are not as represented
constitutes unfair competition, unfair, deceptive, untrue or misleading advertising, and an
unlawful business practice within the meaning of Business & Professions Code §§ 17200
and17531, which advertisements have deceived and are likely to deceive the consuming public, in
violation of Business & Professions Code § 17500.

62. Pursuant to Business & Professions Code §§ 17203 and 17535, Plaintiff and the
members of the Class seek an order of this Court enjoining Neutrogena from continuing to
engage, use, or employ their practice of advertising the sale and use of the Products. Likewise,
Plaintiff and the members of the Class seek an order requiring Neutrogena to disclose such
misrepresentations, and additionally request an order awarding Plaintiff restitution of the money
wrongfully acquired by Neutrogena by means of responsibility attached to Neutrogena’s failure to
disclose the existence and significance of said misrepresentations.

63. Plaintiff and the Class have sutfered injury in fact and have lost money as a result of
Neutrogena’s false representations. Indeed, Plaintiff purchased the Products because of the
claims by Neutrogena that the Products were “clinically proven” and capable of preventing and
repairing wrinkles, fine lines, age spots, or other signs of aging within one week. Plaintiff would
not have purchased the Products if she had known that the advertising as described herein was
false.

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THIRD CAUSE OF ACTION
VIOLATION OF CALIFORNIA CIVIL CODE § 1750, e7 seg.

(By Plaintiff against all Defendants)

64. Plaintiff repeats and realleges the all allegations of the previous paragraphs, and

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incorporates the same as if set forth herein at length.

65. This cause of action is brought pursuant to Civil Code § 1750, ef seq., the
Consumers Legal Remedies Act (“CLRA”), on behalf of a Class consisting of all persons who
purchased the Products in the United States for personal use and not for resale during the time
period February 15, 2008, through the present. Excluded from the Class are Neutrogena’s
officers, directors, and employees, and any individual who received remuneration from
Neutrogena in connection with that individual's use or endorsement of the Products.

66. Inthe alternative, this cause of action is brought pursuant to the CLRA on behalf of
a Class consisting of all persons who purchased the Products in the State of California for
personal use and not for resale during the time period February 15, 2008, through the present.
Excluded from the Class are Neutrogena’s officers, directors, and employees, and any individual
who received remuneration from Neutrogena in connection with that individual’s use or
endorsement of the Products.

67. The Class consists of thousands of persons, the joinder of whom is impracticable.

68. There are questions of law and fact common to the class, which questions are
substantially similar and predominate over questions affecting the individual members, including
but not limited to: (a) Whether Neutrogena represented that the Products have characteristics,
benefits, uses or quantities which they do not have; (b) Whether the existence, extent and
significance of the major misrepresentations regarding the purported benefits, characteristics and
efficacy of the Products violate the Act; and (c) Whether Neutrogena knew of the existence of
these misrepresentations.

69. The policies, acts, and practices heretofore described were intended to result in the
sale of the Products to the consuming public, particularly men and women with unsightly and
embarrassing skin conditions, and violated and continue to violate § 1770(a)(5) of the CLRA by
representing that the Products have characteristics, benefits, uses, or quantities which they do not
have.

70. Neutrogena fraudulently deceived Plaintiff and the Class by representing that the

Products have certain characteristics, benefits, uses, and quantities which they do not have (i.e.,

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the Products can prevent or repair wrinkles. fine lines, age spots, or other signs of aging within
one week). In doing so, Neutrogena intentionally misrepresented and concealed material facts
from Plaintiff and the Class, specifically, that the Products cannot prevent or repair wrinkles, fine
lines, age spots, or other signs of aging within one week. Said misrepresentations and
concealment were done with the intention of deceiving Plaintiff and the Class and depriving them
of their legal rights and money. |

71. Neutrogena knew that the Products are not “clinically proven” and do not cause
and/or assist consumers with preventing or repairing wrinkles, fine lines, age spots, or other signs
of aging within one week as represented in Neutrogena’s advertisements and on Neutrogena’s
packaging.

72. Neutrogena’s actions as described hereinabove were done with conscious disregard
of Plaintiff's rights and Neutrogena was wanton and malicious in its concealment of the same.

73. Plaintiff and the Class have suffered injury in fact and have lost money as a result of

Neutrogena’s false representations.

IX.
FOURTH CAUSE OF ACTION

BREACH OF WARRANTY
(By Plaintiff against all Defendants)

74. Plaintiff repeats and realleges the all allegations of the previous paragraphs, and
incorporates the same as if set forth herein at length.

75. Neutrogena expressly warranted on each and every box of the Products that said
Products are “clinically proven” to prevent and repair wrinkles, fine lines, age spots, or other
signs of aging within one week, all as set forth above. Neutrogena’s claims constitute an
affirmation of fact that became part of the basis of the bargain and created an express warranty
that the goods would conform to the stated promise. Plainuff placed importance on Neutrogena’s
claims.

76. All conditions precedent to Neutrogena’s liability under this contract have been

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CLASS ACTION COMPLAINT

 
Case 2:12-cv-04624-R-

90/00/2012

Red Law, LLP
100 Wilshire Bivd.. Suite 950

Santa Monica, CA.90401

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DATED: April 24, 2012

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NATIONWIDE LEGAL EXPRESS

performed by Plaintiff and the Class.

77. Neutrogena breached the terms of this contract, including the express warranties,
with Plainuff and the Class by not providing Products that can perform as advertised.

78. Asa result of Neutrogena’s breach of its contract, Plaintiff and the Class have been

damaged in the amount of the price of the Products they purchased.

X.

PRAYER FOR RELIEF

WHEREFORE, Plaintiff, on behalf of herself and on behalf of the members of the Class

defined herein, prays for judgment and relief on all Causes of Action as follows:

An order certifying that the action may be maintained as a Class Action;

An order enjoining Neutrogena from pursuing the policies, acts, and practices
complained of herein and requiring Neutrogena to pay restitution to Plaintiff and all
members of the Class:

Actual damages;

Punitive damages;

For pre-judgment interest from the date of filing this suit;

Reasonable attorney fees;

Costs of this suit; and

Such other and further relief as the Court may deem necessary or appropriate.

RED LAW, LLP

PHC,

Ryaf J. Clarkson

Ed D. Dubendorf

Attomeys for Plaintiff and the Proposed
Plaintiff Class

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CLASS ACTION COMPLAINT

 

 

 

 

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1 JURY TRIAL DEMANDED
2 Plaintiff demands a jury trial on all triable issues.
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6 || DATED: Apnil 24, 2012 RED LAW, LLP
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9 Ryan J. Zlarkson
10 Ed D. Dubendorf
Attomeys for Plaintiff and the Proposed
i Plaintiff Class
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CLASS ACTION COMPLAINT

 

 

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Red Law, LLP
100 Wilshire Bivd., Suite 950
Santa Monica, CA 90401

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rel ni@redlawllp.co

edubendorf(@redlawllp.com
RED LAW, LLP

100 Wilshire Bivd., Suite 950
Santa Monica, CA 90401

Tel: (310) 917-1070

Fax: (310) 917-1001

Plaintiff Class

others similarly situated,
Plaintiff,

vs.

inclusive,

Defendants.

Document 1 Filed 05/25/12 Pag

Edward D. Dubendorf, State Bar No. 275456

MARA CHOW, individually and on behalf of all

NEUTROGENA CORP., a Delaware
Corporation; and DOES | through 100,

   

NATIONWIDE LEGAL EXPRESS

Ryan J. Clarkson, State Bar No. 257074

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APR 24 2012

John, Clarke. 6%

BY

Attorneys for Plaintiff Mara Chow and the

Case No.

CLASS ACTION

CODE § 1780(d)

 

 

 

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. Deputy

SUPERIOR COURT FOR THE STATE OF CALIFORNIA
COUNTY OF LOS ANGELES

gc483371

DECLARATION OF RYAN J. CLARKSO
RE VENUE PURSUANT TO CAL. CIV.

DECLARATION OF RYAN J. CLARKSON RE VENUE

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Case 2:12-cv-04624-R-

60/00/2012

Red Law, LLP
100 Wilshire Bivd., Suite 950

Santa Monica, CA 90401

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I, Ryan J. Clarkson, do hereby declare as follows:

1. | am a partner at Red Law, LLP, counsel of record for Plaintiff Mara Chow and the
putative Plaintiff Class, and am licensed to practice in all courts within the State of California. | have
personal knowledge of the facts stated herein, and if called to testify as a witness, | could and would
competently testify to them.

2. This Court is proper for trial of this action because Defendants are doing business in
Los Angeles County, California and the transaction at issue and the subject matter of the above-
captioned action occurred in Los Angeles County.

| declare and state under penalty of perjury that the foregoing is true and correct. Executed
on April 24, 2012 at Santa Monica, California. .

RED LAW, LLP

Pole

RyanJ. Clarkson, Esq.
Attorneys for Plaintiff and the
Plaintiff Class

 

2
DECLARATION OF RYAN J. CLARKSON RE VENUE

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Case 2:12-cv-04624-R- Document 1 Filed 05/25/12 Pag

   

 

82 of 66 Page ID #:32

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SUPERIOR COURT OF CALIFORNIA, COUNTY OF LOS ANGELES
ALTERNATIVE DISPUTE RESOLUTION (ADR) INFORMATION

For additional ADR information and forms visit the Court ADR web application at www.jasuperiorcourt.org (click on ADR).
The piainufffpetitioner snail serve a copy of this form on each detendanvrespondent aiong with he complaint (Civil only).

What is AOR:

Alternative Dispute Resolution (AOR) is the term used to describe ali the other options available for settling a dispute which once had to be
settled in court, ADR processes, such as arbitration, mediation, neutral evaluation, and settlement conference are lass formai then a court
process and provide opportunities for parties to reach an agreement using 2 problem-solving approach.

There are many different kinds of ADR. All of them utilize a “neutrar’, an impartial person, to decide the case or help the parties reach an
agreement

Arbitration:

in arbitration, a neutral person called an “arbitrator” hears arguments and evidence from each sida and then decides the outcome of the
dispute. Arbitration is less formal than a trial, and the rules of evidence are often relaxed. Arbitration may be either “binding” or
“nonbinding.” Sinding arbitration means that the parties waive their right to a trial and agree to accept the arbitrator's decision as final.
Nonbinging arbitration means that the parties are free to request a trial if they do not accept the arbitrator's decision.

Cases for Which Arbitration May Be Appropriate

Arbitration is best for cases where the parties want another person to decide the outcome of their dispute for therm but would like to
avoxd the formality, time. and expense of a trial. It may also be appropriate for complex matters where the parties want a decision-
maker who has training or experience in the subject matter of the dispute.

Cases for Which Arbitration May Not Be Appropriate

if parties want to retain control over how their dispute is resolved, arbitration, particularly binding arbitration, is not appropriate. In
binding arbitration, the parties generally cannot appeal the arbitrator's award, even if it is not supported by the evidence or the law.
Even in nonbinding arbitration, if a party requests a trial and does not receive a more favorable result at trial than in arbitration,
there may be penalties.

Mediation:

In mediation, a neutral person called a “mediator” helps the parties try to reach a mutuaily acceptable resolution of the dispute. The
mediator does not decide the dispute but helps the parties communicate so they can try to settie the dispute themselves. Mediation leaves
contro! of the outcome with the parties.

Cases for Which Mediation May Be Appropriate

Mediation may be particularly useful when parties have a dispute between or among family members, neighbors, or business
partners. Mediation is also effective when emotions are getting in the way of resolution. An effective mediator can hear the
parties out and hetp them communicate with each other in an effective and nondastructiva manner.

Cases for Which Mediation May Not Be Appropriate

Mediation may not be effective if one of the parties is unwilling to cooperate or compromise. Mediation aiso may not be effective if
one of the parties has a significant advantage in power over the other. Therefore, it may not be a good choice if the parties have.a
history of abuse or victimization.

Neutral Evaluation:

in neutral evaluation, each party gets a chance to present the case to a neutral person called an “evaluator.” The evaluator then gives an
opinion on the strengths and weaknesses of each party's evidence and arguments and about how the dispute could be resolved. The
evaluator is often an expert in the subject matter of the dispute. Although the evaluaior's opinion is not binding, the parves typically use it
as a basis for trying to negotiate a resolution of the dispute.

Cases for Which Neutral Evaluation May Be Appropriate
Neutral evaluation may be most appropriate in cases in which there are technical issues that require special expertise to resoive or
the only significant issue in the case is the amount of darnages.

Cases for Which Neutral Evaluation May Not Se Appropriate
Neutral evaluation may not be appropriate when there are significant personal or emotional barriers to resolving the dispute.

Settiement Conference:

A settlement conference may be either mandatory or voluntary. in both types of settlement conferences, the parties and their attorneys
meet with a judge or 2 neutral person called a “settlement officer’ to discuss possible settiiement of their dispute. The judge or settlement
officer does not make a decision in the case but assists he parties in evaluating the strengths and weaknesses of the case and in
negotiating 2 settiement. Settlement conferences are appropriate in any case where settlement is an option. Mandatory settlement
conferences are often held close to the dale a case is set for trial.

LAADR 005 (Rav. 91-12) ALTERNATIVE DISPUTE RE Cat Resin of
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COURT ADR PROGRAMS
Civity
* Arbitration (non-binding) (Code Civ. Proc. §§ 1141.10-1141.31, Cai. Rules of Court, rules 3.810-3.830, and Local Rules, rule 3.252 et
seq.)

 

« Mediation (Code Civ. Proc. §§ 1775-1775.15, Cal. Rules of Court, rules 3.850-3.860. 3.865-3.872 and 3.890-3.888. Evid. Code §§
1115-1128, and Local Rules, rule 3.252 et seq.)
o Civil Harassrnent Mediation
o Eminent Domain Mediation (Code Civ. Proc. §1250.420)
o Smatl Claims Mediaton
* Neutral Evaluation (Local Rules, rule 3.252 et seq.)
+ Settlement Conlerence
o Voluntary Settlement Conference (Local Rules, rule 3.252 at seq.)
o Retired Judge Settiement Conference
FAMILY (non-custody).
* Arbitration (non-binding) (Fam. Code § 2554 and Local Rules, rule 5.18)
« Mediation (Local Rules, rule 5.18)
« Settlement Conference
o Forensic Certified Public Accountant (CPA)
o Spanish Speaking Settlament Conference
PROBATE:
° Mediation
« Settlement Conlerence
NEUTRAL SELECTION

Parties may select an arbitrator, mediator, or evaluator from the Party Select Panel or may hire someone privately, at their discretion. if
the parties utilize the Random Select Panel, the AOR staff will assign on a random basis the name of one neutral who meets the case
criteria entered on the court's website.

COURT AOR PANELS
Party Select The Party Select Panei consists of arbitrators, mediators, and evaluators who have achieved a specified level of
Panel experience in court-annexed cases. The parties (collectively) are charged $150.00 per hour for the first three hours of
nearing time. Thereafter. parties may stipulate in writing for additional hearing time at the rate established by the
neutral.
Random Select The Random Select Panel consists of trained arbitrators, mediators, evaluators, and settlement officers whd make
Panei themselves available pro bono as a way of supporting the judicial system. tis the policy of the Court that Random

Select Panel neutrals provide three hours hearing time per case on a pro bono basis. Thereafter, parties may stipulate
in writing for additional hearing time at the rate established by the neutral.

AOR ASSISTANCE
For assistance regarding ADR, please contact the AOR clerk at the courthouse in which your case was filed.

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For Mandatory Use

 

 

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ATTORNEY Of PARTY

WENHQUT ATTORNEY fame, Slane far semeer, anc scoresay:
Ryan J. Clarkson (SBN 257074) and Edward D. Dubendorf (SBN 273456)
r— Red Law, LLP
100 Wilshire Bivd.. Suite 950

Santa Monica, California 9046)
revepuowe nO (310) 917-1070 FAX NO. (Opsonar (310) 917-1001

ATTORNEY FOR (Name. Mara Chow

fomonn, cclarkson@redlawllp.com; edubendori@redlawlip.com

 

CITY AMO iP
BRANCH

SUPERIOR COURT OF CALIFORNIA, COUNTY OF Los Angeles
strseraccmess: | 1 1 N. Hill Street

MAILING ADORESS.

cove: Los Angeles, 90012
wwe. Stanley Mosk Courthouse

FOR COUMT USE ONLY

 

PLAINTIFEPETTMONER: Mara Chow

DEFENDANTRESPONDENT: Neutrogena Corp.

CASE NUMBER

 

 

PROOF OF SERVICE OF SUMMONS

 

Ret, No. or Fie Ne.

 

 

(Separate proof of service is required for each party served.)

1. Atthe tme of service | was at least 18 years of age and not a party to this action.
2. | served copies of:

CI
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->g@paqnso o

summons
complaint

Altemative Dispute Resolution (AOR) package

Civ Case Cover Sheet (served in complex cases only)
cross-complaint

other (specify documents): Civil Case Cover Sheet Addendum

3. a. Party served (specify name of party as shown on documents served):
Neutrogena Corp.

pb. (7) Person (other than the party in item 3a) served on behaif of an entity or as an authorized agent (and nat a person

CT Corporation System

4. Address where the party was served:

818 W.

Seventh St., Los Angeles, CA 90017

5. | served the party (check proper box)
a. CZ] by personal service. | personally delivered the documents listed in item 2 to the party or person authorized to

receive service of process for the party (1) on (date): (2) at (time):

by substituted service. On (date): at (time): | left the docurnents iisted in iter 2 with or

vo C_]

in the presence of (name and title or relationship to person indicated in item 3):

under item 5b on whom substituted service was made) (specify name and relationship to the party named in item 3a):

(1) [77] (business) a person at least 18 years of age apparently in charge at the office or usual place of business

of ihe person to be served. | informed him or ner of tne generat nature

ihe papers.

(2 (_] (home) a competent member of the household (at least 18 years of age) at the dwelling house or usual
piace of abode of the party. | informed him or her of the general nature of the papers.

(3) (] (physical addrass unknown) a person at least 18 years of age apparently in charge at the usual mailing
address of the person to be served, other than a United States Postal Service post office box. | informed

him or her of the general nature of the papers.

(4) ("_] | thereafter mailed (by first-class, postage prepaid) coples of the documents to the person to be served
at the place where the copies were left (Code Civ. Proc., st | mailed the documents on

(date) . from (city): or

a deciaration of mailing is atlacned.

(5) (_] | attach a deciaration of diligence stating actions taken first to attempt personal service.

Forms eee ee PROOF OF SERVICE OF SUMMONS

of Cabteoras,

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PLAINTIFF/PETINONER: Mara Chow CASE NUMBER:

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DEFENDANT/RESPONOENT: Neutrogena Corp.

 

 

 

 

5. c. (]_ by mail and acknowledgment of receipt of service. | mailed the documents listed in item 2 to the party. to the
address shown in ilem 4, by first-class mail, postage prepaid,

(1) on (date): (2) from (city):

@) C_] with two copies of the Notice and Acknowledgment of Receipt and a posiage-paid retum envelope addressed
to me. (Attach completed Notice and Acknowladgement of Receipt.) (Code Civ. Proc., § 415.30.)
(4) (_] to an address outside California with retum receipt requested. (Code Civ. Proc., § 415.40.)

d. (] by other means (specify means of service and authorizing code section):

(] Additional page describing service is attached.

6. The “Notica to the Person Served" (on the summons) was completed as follows:

a. (__] 4s an individual defendant.

b. CJ as the person sued under the fictitious name of (specity):

c. CC] as occupant.

4. On behalf of (specify): Neutrogena Corp.

under the following Code of Civil Procedure section:
416.10 (corporation) () 415.95 (ousiness organization, form unknown)
() 416.20 (detunet corporation) (7) 416.60 (minor)
C=] 416.30 Goint stock company/associstion) [_) 416.70 (ward or conservatee)
CZ] 418.40 (association or partnership) (J 416.90 (authorized person)
CT) 416.50 (public entity) (77) 418.46 (occupant)
CJ other:
7. Person who served papers

a. Name:

b. Address:

c. Telephone number:

d. The fee for service was: $

@. lam:

(2) exempt from registration under Business and Professions Code section 22350(b).
@ a registared California process server:

() (77) owner (] employee [("] independent contractor.

(i) Registration No.: .

(i) County:

8. | | declare under penaity of perjury under the laws of the State of California that the foregoing is true and correct.

ay 5 not a registered California process server.

or
3. C iam a California sheriff or marshal and | certify that the foregoing is rue and correct.

Date:

 

(MAME OF PERSOM WHO SERVED PAPERS/SHERIF OR MARSHAL) (SIGNATURE }

 

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Case 2:12-cv-04624-R

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CASE HUMBER ~ TT]
chow v. Neutrogena Corp., et al. BC 4 8 3 3 :

CIVIL CASE COVER SHEET ADDENDUM AND STATEMENT OF LOCATION
(CERTIFICATE OF GROUNDS FOR ASSIGNMENT TO COURTHOUSE LOCATION)

This form is required pursuant to LASC Local Rule 2.0 in ail new civil case filings in the Los Angeles Superior Court.
item 1. Check the types of Nearing and fill in the estimated length of hearing expected for this case:

JURY TRIAL? YES CLASS ACTION? Vives LIMITED CASE? O YES TIME ESTIMATED FOR TRIAL 21
item fl. Select the correct district and courthouse location (4 steps ~ If you checked “Limited Case”. skip to Item Ill, Pg. 4):
Step 1: After first completing the Civil Case Cover Sheet Form, find the main civil case cover sheet heading for your case in
the left margin below, and, to the right in Colurnn A, the Civil Case Cover Sheet case type you selected.

Step 2: Check ong Superior Court type of action in Column B below which best describes the nature of this case.
Step 3: In Coiumn C, circle the reason for the court location choice that applies to the type of action you have checked.
For any exception to the court location, see Los Angeles Superior Court Local Rule 2.0.

 

 

 

 

 

 

 

 

 

 

 

 

 

Applicable Reasons for Choosing Courthouse Location (see Column C below)

 

 

 

 

 

 

 

 

1. Class Actions must be filed in tha County Courthouse, Central District. &. Location of property. or permananty garaged vehicie.
2. May be flied in Central (Other county, or no Bodily injury/Property Damage). 7. Location where pettioner reskies,
3. Location where cause of arose. 8. Location wherein defendanvrespondent functions wholly.
4. Location where bodily injury. deain or d. occurred. 9. Location where one or more of 8 parties reside.
§. Location where performance required or de t resides. 10. Location of Labor Commissioner
Step 4: Fill in the information requested on page 4 in Item Ill; complete Item {V._ Sign the declaration.
A B Cc
Civil Case Cover Sheet | Type of Action Applicable Reasons -
< Catagory No. (Check only one) See Step 3 Above —7
3 }
5 Auto (22) (1 7100 Motor Vehicte - Personal injury/Property Damage/Wrongful Death 1.2.4, wy
3
< Uninsured Motorist (46) © A7110 Personal injury/Propeny Damage/Wrongful Death - Uninsured Motorist | 1., 2, 4. Sy
[J] A6070 Asbestos Property Damage 2 I
ze Asbestos (04) (1 47221 Asbestes - Personal injury/Wrongful Death 2 u
se Ss
2 : Product Liability (24) (7260 Product Liability (not asbestos or toxiclenvironmental) 1..2,3,4.,8, —S 2
>3 aX
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— js - ici SS
3 S| Medica! Matpractice (45) (5 7210 Medical Malpractice - Physicians & Surgeons 1.2.4.
se (1 A7240 Other Professional Health Care Malpractice 1.2.4,
ee
gs (J 7250 Premises Liabitity (e.9.. slip and fail) 1.2.4
£3 Other 1 A7230 Intentional Bodity injury/Property Damage/Wrongful Death (e.g., o
3 Personal injury assault, vandatiem, etc.)
aE Property Damage . 1.2.4.
3 é Wrongful Death (© A7270 intentional infiction of Emotional Distress 1.2.3
(23) (J A7220 Other Personal injury/Property Damage/Wrongful Death Loa

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5 | Business Ton (07) (Z) A6OZ9 Other Commercial/Business Tort (not fraud/oraach of contract} OOO

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& 3 Civil Rights (08) (1 8005 Civil Rights/Discrimination 12.8.

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23 Defamation (13) CI A8010 Defamation (slanderiibel) 1.203.

Z § Fraud (16) CJ Ago1a Fraud (no contract)

$ = 1.2.3

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LACIV 108 (Rev. 0107) CIVIL CASE COVER SHEET ADDENDUM " LASC, rule 2.0
LASC Approved 03-04 AND STATEMENT OF LOCATION Page 1 of 4
Case 2:12-cv-04624-R-

00/00/2012

Non-Personal injury /Property Damage/
Wronglul Death Tort (Cont’d.)

Employment

Contract

Real Property

Judicial Review Unlawful Oeteiner

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SHORT TITLE.

Chow v. Neutrogena Corp., er al.

CASE NUMBER

 

 

 

 

 

 

 

 

 

 

 

 

 

 
 

  
    

 

 

 

 

 

 

 

 

 

 

 

 

 

 

cil case Cover 8 c
Type of Action Applicable Reasons
Sheet Category Ne. (Check only one) -See Step 3 Above
Professional C] A6017 Legal Maipractice 1.2.3.
Neghgence . . 1.2.3.
(25) ) A60SO Other Professional Maipractice (not medical or iegal) io
Other (35) Cl A6025 Others Non-Personal injury/Property Damage tort 2.3.
a ered
Wrongful eo [] Ase37 Wrongful Termination 162.3.
Omer Employment C) 8024 Other Employment Complaint Case 1.2.3
CJ 8109 Labor Commissioner Appeals. 10.
Picceoncsenenaiocnscaenmeemamenseceen
Breach of Contract! C] A6004 Breach of Rental/Lease Contract (not Unlawful Detainer or wrongful eviction) 2.5.
08 CO] A608 ContracyWarranty Breach -Seiler Plaintiff (no fraudinegtigence) 2.5
{not insurance) C) A019 Negligent Breach of ContracyWarranty (no fraud) 1.2.5,
CD A6028 Other Breach of ContraceyWarranty (not fraud or negligence) 1.2.5
Collections CJ) As002 Collections Case-Selter Piaintit 2.5.6
(08) [] A6012 Oiner Promissory Note/Collections Case 2s
insurance 5 [) A6015 insurance Coverage (not compiex) 1.2.5. 8
Other Contract C} 6009 Contractual Fraud 4.2, 3.5.
(37) [) 46031 Tortious interference wr ak ee
(J A8027 Other Contract Disputeinat breach/insurance/raudinegiigence)
reer tenes
Eminent .
Domain/inverse CJ A7300. Eminent Oomaini/Condemnation Number of parcels 2
__Condemnation (14)
‘oe [) A8023 Wrongful Eviction Case 2.6.
Other Real Property Cl 6018 Mortgage Foreciosure .. G.
(26) C] As032 Quiet Tite 2.8.
(1 6060 Other Resi Property (not eminent domain, landiordfenant, foreciosure) _
claw oy C] 46021 Untawtul Detainer-Commercial (not drugs or wrongful eviction) 2.6
een aon CJ 46020 Unlawful Detsiner-Residential (not drugs or wrongful eviction) 2.8
Untawtul Oetainer-
Orugs (38) C) A6022 Untewful Detainer-Drugs 2.6
Asset Forfeiture (05) Cl) A108 Asset Forteture Case 2.6
Pettion re Ariration [1 A8118 Petition te CompelConfinn/Vacate Arbitration 2.5
LACIV 109 (Rev. 0107) CIVIL CASE COVER SHEET ADDENDUM LASC, rule 2.0

LASC Approved 03-04

AND STATEMENT OF LOCATION

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Page 2 of 4
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Case 2:12-cv-04624-R- Page ID #:38

   

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SHORT TITLE: CASE HUMBER
Chow v. Neutrogena Corp., et al.

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

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3 A B c
= Civil Case Cover Sheet Type of Action Applicable Reasons -
8 Category Na (Check only one) See Step 3 Above
2 C] A151 Writ - Administrative Mandamus z.. 8.
2 Writ of Mandate C] As152 Writ - Mandamus on Limited Court Case Matter >
« (02) 1] A6153 Writ- Other Limited Court Case Review 3
3
3 ‘
3 Other ee Review (Cl A8150 Other Writ Judicial Review 2..8.
3
Nearer ee ee ee enn nea en ne,
AntitrusVTrade :
Reg (03) [) 46003 Antitrusy/Trade Regulation 128
3 Construction Defect (10) (J as007 Construction defect 1,23
a
E Claims involving Mass
E .
&§ Tort (40) (9 A6006 Claims involving Mass Tort 12.8.
> Cea
3 oS Securities Litigation (28) (] As035 Securties Litigation Case 1.2, &
85 —
2 Toxic Tort ;
3 Envi tal (30) [1] A038 Toxic TorvEnvironmental 1.,2,3.8.
a.
insurance Coverage .
Claims from Complex Cl agot4 Insurance Coverage/Subrogation (complex case onty) 1.2. 5.8.
Case (41)
Soattrorznnesurernnanensmanenseeemonancnatantnannsnsanarntpusasnsennemesnsuasansnteannttenssnnsnsmeatanmnanenmnamereneneneeeeeneteeereeo rr menEneeETaEEEEEmEEeee LT
(1 A61414 Sister State Judgment 2.9.
ee En ' oO AB160 Abstract of Judgment 6.
3 2 of Judgment (J 46107 Confession of Judgment (non-domestic relations) 2.9
3 (20) [) AB140 Adniinistrative Agency Award (not unpaid taxes)
$3 C] AS114 Petition/Centificate for Entry of Judgment on Unpaid Tax 3
a 3 C] agsi2 Other Enforcement of Judgment Case 28 9
= RICO 27) C) A6033 Racketeering (RICO} Case : 1.,2., 8.
5
a [J] A8030 Declaratory Relief Only 12,8
3 2 Other Complaints (] A8040 injunctive Relief Onty (not domestic/narassment) 2.8.
(Not Spec ' a
3 5 f C] aso+ Other Coenmercial Complaint Case (non-tort/non-compiex) 1.2.8
8 (42) C] As000 Other Civil Complaint (non-tornen-compiex) 1.2.8.
2
Partnership Corporation Cl] AB113 Partnership and Corporate Governance Case 2.8
a Govemance(21) . &.
5 C] A6121 Civil Harassment 2.3.9
s Cl A6123 Workplace Harassment 2.3.9
= Cl A8126 EldenOapendent Adult Abuse Case 23.9
6 (N ot Srecited fred above) C1] 46190 Election Contest 2
3 43) (J A8110 Petition for Change of Name 27
3 (J AB170 Petition for Relief from Late Claim Law 2. ,
3. 4,
3 () A8100 Other Civil Petition 9408
3 2.. 9.
2
=
LACIY 109 (Rev, O17) CIVIL CASE COVER SHEET ADDENDUM LASC, rule 2.6
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ay ew
SHORT TITLE: . CASE NUMBER

 

Chow v. Neutrogena Corp., et al.

 

 

 

Item |

il. Statement of Location: Enter the address of the accident, party's residence or place of business, performance, or

other circumstance indicated in Item |l., Step 3 on Page 1, as the proper reason for filing in the court location you selected.

 

41.22. 03.04.05. C6. 07.08. C9. oto.

REASON: CHECK THE NUMBER UNDER COLUMN C
WHICH APPLIES IN THIS CASE

ADORESS:
1128 Ocean Park Blvd. #107

 

am:
Sant

 

STATE: ZIP CODE:
a Monica CA 90405

 

 

 

 

 

item IV. Declaration of Assignment: | declare under penalty of perjury under the laws of the State of California that the foregoing is
true and correct and that the above-entitled matter is property filed for assignment to the Stan ey Mosk courthouse in the
Central District of the Los Angeles Superior Court (Code Civ. Proc., § 392 at seq., and LASC Local Rule 2.0,
subds. (b), (¢) and (d)).

Dated: April 24, 2012

 

 

 

PLEASE HAVE THE FOLLOWING ITEMS COMPLETED AND READY TO BE FILED IN ORDER TO
PROPERLY COMMENCE YOUR NEW COURT CASE:

 

 

_

Original Complaint or Petition.
If filing a Complaint, a completed Summons form for issuance by the Clerk.

 

2.
3. Civil Case Cover Sheet form CM-010.
4. Complete Addendum to Civil Case Cover Sheet form LACIV 109 (Rev. 01/07), LASC Approved 03-04,
5. Payment in full of the filing fee, unless fees have been waived.
6. Signed order appointing the Guardian ad Litem, JC form FL-935, if the plaintiff or petitioner is a minor
under 18 years of aga, or if required by Court,
7. Additional copies of documents to be conformed by the Clerk. Copies of the cover sheet and this addendum
must be served along with the summons and complaint, or other initiating pleading in the case.
LACIV 109 (Rev. 01497) CIVIL CASE COVER SHEET ADDENDUM LASC, nule 2.0
LASC Approved 03-06 AND STATEMENT OF LOCATION Page 4 of 4

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CM-016
PIORNEY OR PARTY WITHOUT ATTORNEY meme, Di Samiser, attresay couer OMY
"Ryan J. Clarkson (SBN 257018) and oes Be Dubendorf (SBN 275456) Pom coun Use
- Red Law, LLP CONF
100 Wilshire Bivd., Suite 950 OR OPY
reLemmone na: 310-917-1070 Fax: 310-917-1001 SuPeRioN ANAL FILED
ATTORNEY 208 pamer Mara Chow COUNTY Peay es FORMA
SUPERIOR COURT OF CALPOnIaA, COUNTY OF Los Angeles Les
street apomese: 111 N. Hill Street APR
City awo 2e cong: Los Angeles, 90012 oh: ;
BRANCH MAwe: Stanley Mosk Courthouse NA) Clarke. by, .
dili¥e Unticer/Cy
CASE NAME: Y. erk
Chow v. Neutrogena Corp., etal. / =~ - Deputy
CIVIL CASE COVER SHEET Complex Case Designation CASE NBER
ra anon (monn C4 Counter Cc Joinder
demanded demanded is Filed with first appearance by detendant Age a 71
exceeds $25,000) $25.000 or less) (Cal. Rules of Court, rule 1811) cEPT: ,
All five (5) items below must be completed (see instructions on page 2).
1. Check one box below for the case type that best describes this case:
Auto Tort Contract Provisionally Complex Civil Litigation
= Auto (22) [2] Breach of contractwarranty (06) (Cal. Rules of Court, rules 1800-1812)
Uninsured motorist (46) Collections (09) CJ Antitruavtrade reguiation (03)
Diner PUPOMWD (Personal injury/Property — (—] insurance coverage (18) (=) Construction detect (10)
Damage/Wrongtul Death) Tort Other contract (37) {__] Mass ton (40)
C=] Aspestos (04) Real Property Securities ligation (28)
Product ability (24) ("J Eminent domainvinverse

Medical malpractice (45}
(J o1ner PPO (23)
Non-PUPOVWD (Other) Tort

Businass forvuntalr business practice (07)
CJ civi rights (08

Oelamation (13)

Fraud (16)

intellectual property (19)
[J Protessional negigence (25)
(J Other non-PYPOAWD tort (35)
Employment
(__] Wrongtut termination (38)
(2) o1mer emptoyment (15)

 

condemnation (1.4)
[J] Wrongtut eviction (33)

Other real property (28)
Uniawtul Oetainer

Commercial (31)
(C_] Residentat (22)

Oruga (38)
Judiclal Review
() Asset torteaure (05)

Petition re: arbitration award ay
(J writ of mandate (02)

Other judicial review (39)

Co Environmental ‘Toxic tort (30)

inaurance coverage claims ansing from the
complex case
Enforcement of Judgment

Enforcement of judgment (20)
Miscellaneous Civil Complain
(J nico «zy

Other complaint (not specified above) (42)
Miscetianeous Civil Petition
[__] Partnership and corporate govemance (21)
(J Other petition (not specitied above) (43)

 

 

2. Thiscase (/] is [7] is not

complex under rule 1800 of the California Ru

factors requiring exceptional judicial management:

a. [_] Large number of separately represented parties sd.
». GZ] Extensive motion practice raising difticux or novel e. Ct)

issues that will be time-consuming to resolve
c. GZ] Substantial amount of documentary evidence

3. Type of remedies sought (check ail that apply):

a. (Z] monetary vb. (7)
4. Number of causes of action

nonmonetary; declaratory or injunctive reliet
(specity): (1) UCL; (2) FAL; (3) CLRA; (

 

les of Court. if the case is complex, mark the

C=] Large number of witnesses
Coardination with retated actions Pending in one or more courts
in other counties,

f. (27) Substantial post-judgment judicial supervision

c. (_] punitive
4) Express Warranty

States o7 countries, or in a lederal court

>

 

&. Thiscase [7] is [] is not a class action sunt.
Date: April 24, 2012 in
Ryan J. Clarkson >
(TYPROR Pree NALD

 

« If this case is complex under rule 1900 et
other parties to the action or 9:

 

« Plaintiff must file this cover sheet with the first
under the Probate, Family, or Welfare and in

NOTICE

r FAIS SE PARTY OW ATTORNEY FON PARTY
Daper filed in the action or pr except small claims cases or cases filed

stitutions Code). (Cal. Rules of Court, nde 201 8.) Failure to file may resus in

sanctions.
» File this cover sheet in addition to any cover sheet required by local court rule.
$09. of the Cafilornia Rules of Court, you must serve a copy of this caver sheet on alt

Unless this is a complex case, ihis cover sheet will be used for statistical purposes only.

 

 

Page tt 2]

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INSTRUCTIONS ON HOW TO COMPLETE THE COVER SHEET
To Plaintiffs and Others Filing First Papers

if you are filing a first paper (lor example, a complaint) in a civil case, you must complete and ile, along with your first paper. the Civ#
Case Cover Sheet contained on page 1. This information will be used to compile stalistics about ihe types and numbers of cases fied.
You must check all five items on the sheet. in item 1, you must chack one box for ihe case type that best describes the case. ff the
case fits both a general and a more specific type of case listed in tem 1, check the more specific one. if the case has muitiple causes
of action. check the box that best indicates the primary cause of action. To assist you in completing the sheet, examples of the cases
that belong under each case type in item 1 are provided below. A cover sheet must be lied only with your initial paper. You do not
need to submit a cover sheet with amended papers. Failure to file a cover sheet with the first paper filed in a civil case may subject a
party, its counsel, or both to sanctions under rules 201.8(c) and 227 of the California Rules of Court.

To Parties in Complex Cases

in complex cases only, parties must also use ihe Chil Case Cover Sheet to designate whether the case is compiex. if a plamtift
believes the case is complex under rule 1800 of the Califomia Rules of Court, this must be indicated by completing the appropriate
boxes in items | and 2. If a plaintiff designates a case as complex, the cover sheet must be served with the complaint on ail parties to
the action. A defendant may file and serve no later than the time of its first appearance a joinder in the plaintiff's designation, a
counter-designation that the case is not compiex, or, if the plaintiff has made no designation, a designation that the case is complex.

CASE TYPES AND EXAMPLES
‘000 2} Penonal nuyPopary —"Srasenol cortmevarany(os) ——_—Chdgaton tak Sues Court Rule
Auto rope reach o fn ules of Court
DamageWrong! Death Breach of RentaV_ease 1800-1812)
Uninsured ist (46) (i the Contract (not unlawhad datainar AntilrusVTrade Regulation (03)
case involves ar uninsured or eviction) Construction Defect (19)
motorist claim subject to Contractw. Breach-Seller Claims t Mass Tort (40)
arbitration, check this item Plaintitt (not fraud or neg ) Securities Litigation (28)
instead of Auto} Ni Breach of Toxic TorVEnvironmental (30)
arranty insurance Coverage Claims
Other Greach of Contract/Warranty (arising from provisi
Property Damaguw Oi wronet In yi ) Collections (e.g, om owed, open aye x Case type listed above)
r a rongful Dea’ 41
Tort Collection Case~Seller Plaintiff
Asbestos (04) Other Promissory Note/Collections Enforcement of Judgment
Asbestos Property Damage Case Entorcement of J: mm (20)
Asbestos Personal injury: Insurance Coverage (nol provisionaily Abstract of Judgment (Out of
Wrongful Death complex) (18) County)
Product Liability (not asbestos or Auto S Conlession ot Judgment (non-
laxicfarvironmental) (24) Other Cov domestic relations)
Medical Maipractice (45) Other Contract ( Sister State Judgment
Medical Malpractice~ Contractual Fraud Administrative Agency Award
sicians & Surgeons Other Contract Dispute (not unpaid taxes,
Other Professional Health Care Real Pr Petition/Ceriification of Entry of
Malpractice e ‘op dudoment on Unpaid Tax
Other PUPO/WD (23) Eminent Oomain/nverse Ciher Enforcement of Judgment
Premises Liability (9.g., slip Condemnation(14) Case
and fa Wrongtul Eviction (33)
Intentional injury/PD/WD Other Real Property (@.9., quiet title) (26) Miscellaneous Civil Complaint
(@.g., assault, vandaiism) Writ of Possession of Real Property RICO (27)
Intentional iniliction of Gongage Foreclosure Other Complaint (not specified
Emotional Distress Quiet Tile above) (42)
N t infliction of Other Real Property (not eminent Dec! Relief On
j Distress domain, landiord/Aenant, or injunctive Relief Only (non-
Other PYPO/AWO foreclosure) harassment)
Mechanics Lien
Non-PUPD/WD ( Tort Untawtul Detainer Other Commercial Complaint
Business TorvUniair Business Commercial (31) Case (non-tort/non-complex)
Practice (07) Residential i ; Other Civil Compiaint
Civil Rights (¢.9., discrimination, Drugs (38) (if the case involves illegal {nar- lorynon-compliex)
false arrast) (not civil drugs, check thig ilern; otherwise,
harassmentK08) report as Commercial or Miscellaneous Civil Petition
Defamation (e.g, slander, libel) Residential) : Partnership and Corporate
1)

i
Fraud 18}
intellectual Property (19)

Judicia! Review
Asset Forieiture (05)

Governance (
Orne! Petition (noi specified above}

 

Professional Negligence (25) Petition Re: Arbitration Award (11) Civ Harassment
Legal Writ of Mandate (02) Workplace Violence
Other Professional Malpractice Writ-Administratwe Mandamus Elder/Dependent Adult
(not medical or legal) Writ-Mandamus on Limitad Court Abuse
Other Non-PYPOAWWVD Tart (35) Case Matter Election Contest
Writ-Other Limited Court Case Petition for Name Change
Employment Review Petition for Reliet from Late
wrongtul Termination (36) Other Judicial Review (39) Claim
Other Employment (1 Review of Health Officer Order Other Civil Petition
Notice of Appeal-Labor
Commissioner Appeais
CMAO10 Dew, Judy 1, 20038 CIVIL. CASE COVER SHEET Pape 2 ed 2
 

 

Los Angeles County
Sar Association Labor and

Employment Law Section

Cormeeras Mrysesg.
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Consumer Attorneys
Association of Los Angeise

 

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Association of
Business Trial Lawyers

 

Case 2:12-CVv-04624-R- JG Document 1 Filed 05/25/12 Pagey2 of 66 Page ID #:42

VOLUNTARY EFFICIENT LITIGATION STIPULATIONS

 

 

The Earty Organizational Meeting Stipulation, Discovery
Resolution Stipulation, and Motions in Limine Stipulation are
voluntary stipulations entered into by the parties. The parties
may enter into one, two, or all three of the stipulations;
however, they may not alter the stipulations as written,
because the Court wants to ensure uniformity of application.
These stipulations are meant to encourage cooperation
between the parties and to assist in resolving issues in a
manner that promotes economic case resolution and judicial

efficiency.

The following organizations endorse the goal of
promoting efficiency in litigation and ask that counsel
consider using. these stipulations as a voluntary way to
promote communications and procedures among counsel
and with the court to fairly resolve issues in their cases.

@Los Angeles County Bar Association Litigation Section @

@ Los Angeles County Bar Association
Labor and Employment Law Section?

@Consumer Attorneys Association of Los Angeles@
Southern California Defense Counsel@
Association of Business Trial Lawyers ®

California Employment Lawyers Association@

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Case 2:12-cv-04624-R-

   

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TELEPHONE NO.: FAX NO, (Optional;
E-MAIL ADORESS (Optionaik
ATTORNEY FOR (Name

SUPERIOR COURT OF CALIFORNIA, COUNTY OF LOS ANGELES
| COURTHOUSE ADDRESS:

COURTHOUSE ADD.

MADE AMES ADELE OF KT TORREY OR PAITTE WATHORTT ATTORNEY: STATE SAA AER Remmtond tae Cink’: Fe Samy

 

 

 

PLAINTIFF:

 

DEFENDANT:

 

 

STIPULATION — EARLY ORGANIZATIONAL MEETING

 

 

This stipulation is intended to encourage cooperation among the parties at an early stage in
the litigation and to assist the parties in efficient case resolution.

The parties agree that:

1. The parties commit to conduct an initial conference (in-person or via teleconference or via
videoconference) within 15 days from the date this Stipulation is signed, to discuss and consider
whether there can be agreement on the following:

a.

(ASC Moneethasy STIPULATION - EARLY ORGANIZATIONAL MEETING

Are motions to challenge the pleadings necessary? if the issue can be resolved by
amendment as of right, or if the Court would allow leave to amend, could an amended
complaint resolve most or all of the Issues a demurrer might otherwise raise? If $0, the parties
agree to work through pieading Issues so that a demurrer need only raise issues they cannot
resolve. !s the issue that the defendant seeks to raise amenable to resolution on Gemurrer, or
would some other type of motion be preferable? Could a voluntary targeted exchange of
documents or information by any party cure an uncertainty in the pleadings?

Initial mutual exchanges of documents at the “core” of the litigation. (For example, in an
employment case, the employment records, personnel file and documents relating to the
conduct in question could be considered “core.” In a personal injury case, an incident or
police report, medical records, and repair or maintenance records could be considered
“core.");

Exchange of names and contact information of witnesses:

Any insurance agreement that may be available to satisfy part or all of a judgment, or to
indemnify or reimburse for payments made to satisfy a judgment;

Exchange of any other information that might be helpful to facilitate understanding, handiing,
or resolution of the case in a manner that preserves objections or privileges by agreement:

Controlling issues of law that, if resolved early, will promote efficiency and economy in other
phases of the case. Aiso, when and how such issues can be presented to the Court;

Whether or when the case should be scheduled with a settlement officer, what discovery or
court ruling on legal issues is reasonably required to make settlement discussions meaningful,
and whether the parties wish to use a sitting judge or a private mediator or other options as

 

 

Page 1 of 2

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Case 2:12-cv-04624-R-

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4of66 Page ID #:44

 

 

SHOMY TITLE:

 

CASE Ee

 

 

discussed in the “Alternative Dispute Resolution (ADR) Information Package” served with the
complaint, ,

Computation of damages, including documents not privileged or protected from disclosure, on
which such computation is based;

Whether the case is suitable for the Expedited Jury Trial procedures (see information at

www. lasuperiorcourt.org under “Civil and then under “General information’).

The time for a defending party to respond to a complaint or cross-complaint will be extended

to for the complaint, and for the cross-
UNSERT DATE) UNSERT DATE)

complaint, which is comprised of the 30 days to respond under Government Code § 68616(b),
and the 30 days permitted by Code of Civil Procedure section 1054(a), good cause having
been found by the Civil Supervising Judge due to the case management benefits provided by
this Stipulation.

The parties will prepare a joint report titled “Joint Status Report Pursuant to Initial Conference
and Early Organizational Meeting Stipulation, and if desired, a proposed order summarizing
results of thelr meet and confer and advising the Court of any way it may assist the parties’
efficient conduct or resolution of the case. The parties shall attach the Joint Status Report to
the Case Management Conference statement, and file the documents when the CMC
statement is due.

References to “days” mean calendar days, unless otherwise noted. if the date for performing
any act pursuant to this stipulation falls on a Saturday, Sunday or Court holiday, then the time
for performing that act shall be extended to the next Court day

The following parties stipulate:

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

Date:
__ >
(TYPE OR PRINT NAME) (ATTORNEY FOR PLAINTIFF)
Date:
>
(TYPE OR PRINT NAME) (ATTORNEY FOR DEFENDANT)
Date:
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(TYPE OR PRINT NAME) (ATTORNEY FOR DEFENDANT) |
Date:
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Page 2 of 2

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NAMIE ANG ACORILSS OF KTICIOEEY OR PARTY WETTHOUT ATTOMEEY: STATE DAR nanan Paneseed tee Chek's Fie Sam
TELEPHONE NO.: FAX NO. (Optional
E-MAIL ADDRESS (Optional:

ATTOR FOR (News

SUPERIOR COURT OF CALIFORNIA, COUNTY OF LOS ANGELES

COURTHOUSE ADDRESS:

PLAINTIFF:

 

 

 

DEFENDANT:

 

CASE NUMBER:
STIPULATION — DISCOVERY RESOLUTION

 

 

 

 

This stipulation is intended to provide a fast and informal resolution of discovery issues
through limited paperwork and an informal conference with the Court to aid in the
resolution of the issues.

The parties agree that:

1. Prior to the discovery cut-off in this action, no discovery motion shall be filed or heard unless
the moving party first makes a written request for an Informal Discovery Conference pursuant
to the terms of this stipulation.

2. At the Informal Discovery Conference the Court will consider the dispute presented by parties
and determine whether it can be resolved informally. Nothing set forth herein will preciude a
party from making a record at the conclusion of an Informal Discovery Conference, either
orally or in writing.

3. Following a reasonable and good faith attempt at an informal resolution of each issue to be
presented, a party may request an Informal Discovery Conference pursuant to the following
procedures:

a. The party requesting the informal Discovery Conference will:

i. File a Request for Informal Discovery Conference with the clerk's office on the
approved form (copy attached) and deliver a courtesy, conformed copy to the
assigned department;

ii. Include a bref summary of the dispute and specify the relief requested: and

iii. Serve the opposing party pursuant to any authorized or agreed method of service
that ensures that the opposing party receives the Request for Informal Discovery
Conference no later than the next court day following the filing.

b. Any Answer to a Request for Informal Discovery Conference must:
i. Also be filed on the approved form (copy attached):

i. Include a brief summary of why the requested relief should be denied:

 

LASC Appreced 04/44 STIPULATION — DISCOVERY RESOLUTION page tof 3

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Case 2:12-cv-04624-R-JUy Document 1 Filed 05/25/12 P 6 of 66 Page ID #:46

   

 

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ii. Be filed within two (2) court days of receipt of the Request; and

iv. Be served on the opposing party pursuant to any authorized or agreed upon
method of service that ensures that the opposing party receives the Answer no
later than the next court day following the filing.

c. No other pleadings, including but not limited to exhibits, declarations, or attachments, will
be accepted.

d. If the Court has not granted or denied the Request for informal Discovery Conference
within ten (10) days following the filing of the Request, then it shall be deemed to have
been denied. If the Court acts on the Request, the parties will be notified whether the
Request for Informal Discovery Conference has been granted or denied and, if granted,
the date and time of the Informal Discovery Conference, which must be within twenty (20)
days of the filing of the Request for informal Discovery Conference.

e. If the conference is not held within twenty (20) days of the filing of the Request for
Informal Discovery Conference, unless extended by agreement of the parties and the
Court, then the Request for the Informal Discovery Conference shail be deemed to have
been denied at that time.

4. If (a) the Court has denied a conference or (b) one of the time deadlines above has expired
- without the Court having acted or (c) the Informal Discovery Conference is concluded without
resolving the dispute, then a party may file a discovery motion to address unresolved issues.

5. The parties hereby further agree that the time for making a motion to compel or other
discovery motion is tolled from the date of filing of the Request for Informal Discovery
Conference until (a) the request is denied or deemed denied or (b) twenty (20) days after the
filing of the Request for Informal Discovery Conference, whichever is earlier, unless extended
by Order of the Court.

It is the understanding and intent of the parties that this stipulation shall, for each discovery
dispute to which it applies, constitute a writing memorializing a “specific later date to which
the propounding [or demanding or requesting] party and the responding party have agreed in
writing,” within the meaning of Code Civil Procedure sections 2030.300(c), 2031.320(c), and
2033.290(c).

6. Nothing herein will preclude any party from applying ex parte for appropriate relief, including
an order shortening time for a motion to be heard conceming discovery.

7. Any party may terminate this stipulation by giving twenty-one (21) days notice of intent to
terrninate the stipulation.

8. References to “days” mean calendar days, unless otherwise noted. If the date for performing
any act pursuant to this stipulation falls on a Saturday, Sunday or Court holiday, then the time
for performing that act shall be extended to the next Court day.

 

LACIV 036 (new) STIPULATION — DISCOVERY RESOLUTION

LASC Approved 64/44 Page Z of 3
Case 2:12-cv-04624-R- Filed 05/25/12 Pa 7 of66 Page ID #:47

   

 

SNORT TITLE: CASE NIMIER:

 

 

 

 

The following parties stipulate:

 

 

 

 

 

 

 

 

 

 

Date:
>
(TYPE OR PRINT NAME) (ATTORNEY FOR PLAINTIFF)
Date:
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(TYPE OR PRINT NAME) (ATTORNEY FOR DEFENDANT)
Date:
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eee (TYPE OR PRINT NAME) (ATTORNEY FOR DEFENDANT)
Date:
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(TYPE OR PRINT NAME) (ATTORNEY FOR DEFENDANT)
Date:
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(TYPE OR PRINT NAME) (ATTORNEY FOR )
Date:
>
— “CTYPE OR PRINT NAME} (ATTORNEYFOR_ ss SCSC“S
Date:
>
(TYPE OR PRINT NAME) (ATTORNEY FOR )
CASO Aonrones 4/41 STIPULATION — DISCOVERY RESOLUTION page 303

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TELEPHONE NO. FAX NO, (Optional):
E44AM, ADDRESS (Optional.
ATTORNEY FOR (Namek
SUPERIOR COURT OF CALIFORNIA, COUNTY OF LOS ANGELES
| COURTHOUSE ADORESS:
PLAINTIFF.
| DEFENDANT:
CASE Ne
INFORMAL DISCOVERY CONFERENCE
(pursuant to the Discovery Resolution Stipulation of the parties)

 

 

1. This document relates to:
Cl Request for informal Discovery Conference
Ct] Answer to Request for Informal Discovery Conference

2. Deadline for Court to decide on Request: (insert date 10 calendar days following filing of
the Request).

3. Deadline for Court to hold informal Discovery Conference: (insert date 20 calendar
days following filing of the Request).

4. For a Request for Informal Discovery Conference, briefly describe the nature of the
discovery dispute, including the facts and legal arguments at issue. For an Answer to
Request for Informal Discovery Conference, briefly describe why the Court should deny
the requested discovery, including the facts and legal arguments at issue.

 

LACIV 084 (new) INFORMAL DISCOVERY CONFERENCE
LASC Approved 04/17 (pursuant to the Discovery Resolution Stipulation of the parties)

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NAME ANG ADORESS OF ATTORNEY OR PRATY WATHOUT ATTORNEY: STATE WA nae Faserved tor Carts Fle Sumy
TELEPHONE NO.: FAX NO. (Optionaly
E-MAK ADORESS (Optionalr
ATTORNEY FOR (Name
SUPERIOR COURT OF CALIFORNIA, COUNTY OF LOS ANGELES
| COURTHOUSE ADDRESS:
PAIN TPF:
OEFENDANT:
CASE NUMGER:
STIPULATION AND ORDER — MOTIONS IN LIMINE

 

 

This stipulation is intended to provide fast and informal resolution of evidentiary
issues through diligent efforts to define and discuss such issues and limit paperwork.

The parties agree that:

1.

At least days before the final status conference, each party will provide all other
parties with a list containing a one paragraph explanation of each proposed motion in

‘limine. Each one paragraph explanation must identify the substance of a single proposed

motion in limine and the grounds for the proposed motion.

The parties thereafter will meet and confer, either in person or via teleconference or
videoconference, concerning all proposed motions in limine. In that meet and confer, the
parties will determine:

a. Whether the parties can stipulate to any of the proposed motions. if the parties so
stipulate, they may file a stipulation and proposed order with the Court.

b. Whether any of the proposed motions can be briefed and submitted by means of a
short joint statement of issues. For each motion which can be addressed by a short
joint statement of issues, a short joint statement of issues must be filed with the Court
10 days prior to the final status conference. Each side's portion of the short joint
statement of issues may not exceed three pages. The parties will meet and confer to
agree on a date and manner for exchanging the parties’ respective portions of the
short joint statement of issues and the process for filing the short joint statement of
issues.

All proposed motions in fimine that are not either the subject of a stipulation or briefed via:
a short joint statement of issues will be briefed and filed in accordance with the California
Rules of Court and the Los Angeles Superior Court Rules.

 

CAS eet igs, STIPULATION AND ORDER - MOTIONS IN LIMINE

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SOUT TITLE: CASE NMED
The following parties stipulate:
Date:
>
(TYPE OR PRINT NAME) (ATTORNEY FOR PLAINTIFF)
Date:
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(TYPE OR PRINT NAME) (ATTORNEY FOR DEFENDANT)
Date:
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(TYPE OR PRINT NAME) (ATTORNEY FOR DEFENDANT)
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(TYPE OR PRINT NAME) (ATTORNEY FOR DEFENDANT)
Date:
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(TYPE OR PRINT NAME) (ATTORNEY FOR )
Date:
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(TYPE OR PRINT NAME) (ATTORNEY FOR )
Date: /
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(TYPE OR PRINT NAME) (ATTORNEY FOR _ )
THE COURT SO ORDERS.
Date:
JUDICIAL OFFICER
(ASC Appnedaiy STIPULATION AND ORDER - MOTIONS IN LIMINE Page 2 of 2

 
Case 2:12-cv-04624-R

 

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SUPERIOR COURT OF CALIFORNIA, COUNTY OF LOS ANGELES

  

 

 

 
   

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t 0 @ NOTICE OF CASE ASSIGNMENT - UNLIMITED CIVIL CASE + ~ 4 8
Case Namber ~ 4 3 3 7 1
Your case is assigned for ail dae heaves below (Local Rete ?3(c)) There bs additional information on the reverse side of tis form
ASSIGNED JUDGE DEPT | ROOM ASSIGNED JUDGE DEPT ROOM
Hon. Carolyn B. Kuhl 1 534 Hon. Holly E. Kendig 42 416
Hon. J. Stephen Czuleger 3 224 Hon. Mel Red Recana 45 529
Hon. Luis A. Lavin 13 630 Hon. Debre Katz Weintraub 47 507
Hon. Terry A. Green 14, 300 Hon. Elizabeth Allen White 48 506
Hon. Richard Fruin 15 307 Hon. Deirdre Hill 49 509
Hon. Rita Miller 16 306 Hon. John L. Segal 50 508
Hon. Richard E. Rico 17 309 Hon. Abraham Khan s! Sut
19 311 Hon. Susan Bryant-Deason 52 510
Hon. Kevin C. Brazile 20 310 Hon. Steven J. Kleifield 53 513
Hon Michael P. Linfield 10 315 Hon, Emest M. Hiroshige 54 512
Hon. Robert L. Hess 24 314 Hon. Malcolm H. Mackey 55 515
Hon. Mary Ann Murphy 28 317 Hon. Michael Johnson 56 514
Hon. James R. Dunn 26 316 Hon. Ralph W. Dau 57 517
Hon. Yvette M. Palazuctos 28 318 Hon. Rolf M. Trev 58 516
Hon. Barbara Scheper 30 400 Hon. David L. Minning 61 632
Hon. Alan S. Rosenfield 31 407 Hon. Michael L. Stern 62 600
Hon. Mary H. Strobel 32 406 Hon. Fredrick C. Shaller 46 601
Hon. Charles F. Palmer 33 409 Hon. Mark Mooney 68 617
Hon. Amy D. Hogue 34 408 Hon. Ramona See 69 621
Hon. Daniel Buckley 35 4il Hon. Soussan G. Bruguera 71 729
Hon. Gregory Alarcon 36 410 Hon. Ruth Ann Kwan 72 TH
Hon. Joanne O'Donnell 37 413 Hon. Teresa Sanchez-Gordon 74 BS
Hon. Maureen Duffy-Lewis 38 412 Hon. William F. Fahey 78 730
| 39 415 Hon. Emilie HH. Elias —_ 324 | CCW
Hon. Michelle R. Rosenblatt 40 414 Hon. Elihu M. Berle* / 323 ) CCW
Hon. Ronald M. Sohigian. 41 417 other Zo

 

 

 

 

 

 

 

 

 

 

 

*

All class actions are initially assigned tm Judge Elihu M. Serie in Geparstment 323 of the Central Civil West Courthouse (600 S. Commonwealth Ave., Los Angeies 90005).
This assignment is for the purpose of assessing whether or not the case ls complex within the meaning of Calliornia Rules of Court, rule 3.400. Depending on the
outcome of that assessment, the class action casa may be reassigned to one of the judges of the Complex Litigation Program or reessigned randomly to a court in the

Cantral Olstrict.

Given to the Plsintiff/Cross-Complainant/Attorney of Record on

LACIV CCH 190 (Rev, 01/12)
LASC Approved 05-06

 

By

NOTICE OF CASE ASSIGNMENT —
UNLIMITED CIVIL CASE

 

JOHN A. CLARKE, Executive Officer/Clerk

Deputy Clerk

Page i of 2
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Case 2:12-cv-04624-R-.

   

INSTRUCTIONS FOR HANDLING UNLIMITED CIVIL. CASES

os J

The following critical provisions of the Chapter Seven Rules, as applicable in the Central District, are summarized for your assistance. ¢
APPLICATION
The Chapter Seven Rules were effective January 1, 1994. They apply to all general civil cases.

PRIORITY OVER OTHER RULES

The Chapter Seven Rules shail have priority over all other Local Rules to the extent the others are inconsistent.
CHALLENGE TO ASSIGNED JUDGE

A challenge under Code of Civil Procedure section 170.6 must be made within 15 days after notice of assignment for all purposes to
a judge, or if a party has not yet appeared, within 15 days of the first appearance.

TIME STANDARDS
Cases assigned to the Individual Calendaring Court will be subject to processing under the following time standards:
COMPLAINTS: All complaints shall be served within 60 days of filing and proof of service shall be filed within 90 days of filing.

CROSS-COMPLAINTS: Without leave of court first being obtained, no cross-complaint may be filed by any party after their

answer is filed. Cross-complaints shall be served within 30 days of the filing date and a proof of service filed within 60 days of the
filing date.

A Status Conference will be scheduled by the assigned Independent Calendar Judge no later than 270 days after the filing of the
complaint. Counsel must be fully prepared to discuss the following issues: alternative dispute resolution, bifurcation, settlement,
trial date, and expert witnesses.

FINAL STATUS CONFERENCE

special jury instructions and special jury verdicts. These matters may be heard and resolved at this conference. At least 5 days
before this conference, counsel must also have exchanged lists of exhibits and witnesses and have submitted to the court a brief
statement of the case to be read to the jury panel as required by Chapter Eight of the Los Angeles Superior Court Rules.

SANCTIONS

The court will impose appropriate sanctions for the failure or refusal to comply with Chapter Seven Rules, orders made by the
Court, and time standards or deadlines established by the Court or by the Chapter Seven Rules. Such sanctions may be on a party or
if appropriate on counsel for the party.

This is not 2 complete delineation of the Chapter Seven Rules, and adherence only to the above provisions is therefore

not a guarantee against the imposition of sanctions under Trial Court Delay Reduction. Careful reading and
compliance with the actual Chapter Rules is absolutely imperative.

LACIV CCH 190 Rev, 01/12) NOTICE OF CASE ASSIGNMENT — “Page 2 of 2
LASC Approved 05.06 —~ UNLIMITED CIVIL CASE
Case 2:12-cv-04624-R Document 1. Filed 05/25/12 P

   

53 of 66 Page ID #:53

 

 

SUPERIOR COURT OF CALIFORNIA, COUNTY OF LOS ANGELES
ALTERNATIVE DISPUTE RESOLUTION (ADR) INFORMATION PACKAGE
(CRC 3.221 Information about Aiternative Dispute Resolution}
ror additonal ADR information end forms vit the Court ADR web application at were. !asupertorcourt.ona (cick on ADR).

The plaintiff shal serve @ copy ofthis Information Package on each defendant slong with the complaint (Civil only}.

Wht Ie AD  Resoiution (ADR) ia the term used to describe al the other options available for setting a iepute which tems, Hoes
be settied in court. Raion eee, such ee arbitration, mediation, neutral evaluation (NE), and settiement conferences, are less formal
Oe Eo eetas and provide opportunities for parties to reach an agreement using a problem-eciving approach.

There are many different kinds of ADR. Ail of them utilize a “neutral”, an impartial person, to decide the case or help the parties reach an
agreement.

Mediation:

Mediation: eutral person called a "mediator" helps the parties ty to reach # mutually accaptable resolution of He Gispate, fhe
In mediation, reece the dispute but helps the parties communicate so they can try to seitie the dispute themselves, Mediation
leaves control of the outcome with the parties.

Cases for Which Mediation May Be Appropriate oe .

caren nay be particularly useful when parties have a dispute between or among family members, neighbors, o bus ese
vet here Melation is also effective when emotions are getting in the way of resolution. An effective mediator can hear the
Parties out and help them communicate with each other In an effective and nondestructive manner.

Cases for Which Mediation May Not Be

Appropriate
Mediation may not be effective if one of the parties is unwilling to cooperate or compromise. Mediation also may not be effective
if one of the parties has a significant advantage in power over the other. Therefore, t may not be a good choice if the parties
nave a history of abuse or victimization. .

Arbitration:

In arbitration, a neutral person called an “arbitrator” hears arguments and evidence from each side and then decides the outcome of the
dispute. ‘Arbitration Is less formal than a trial, and the rules of evidence are often relaxed. Arbitration may be either “binding” or
“nonbinding.” citing arbtiration means that the parties walve their right to a tral and agree to accept the arbitrator's decision a8 final

/ Nonbinding arbitration means that the parties are free to request a trial if they do not accept the arbitrator's decision.

Cases for Which Arbitration May Be Appropriate .
case8 tor in beat for cases where the parties want another person to decide the outcome of their dispute for them but woule
like to avoid the formality, time, and expense of a triai. it may also be appropriate for complex matters where the parties want a
decision-maker who has training or experience in the subject matter of the dispute. .

Appropriate
if parties want to retain control over how their dispute is resolved, arbitration, particularly binding arbitration, Is not appropriate.
in'binding arbitration, the parties generally cannot appeal the arbitrator's award, even if its not supported by the evidence or the
a aoeeyeu in nonbinding arbitration, if @ party requests a trial and doss not receive a more favorable result at tial than in

in neutral evahinton oe ard weekneeses of each party evigence and arguments and about how the digpute could be resohed, The
or elcator la often an expert in the subject matte ofthe dlapute. Although the evaluators opinion is not binding, the partes (yPically Use &
as a basis for trying to negotiate # resolution of the dispute.

Cases for Which Neutral Evaluation Way Be Appropriate

Ca ot entian may be most appropriate in casee in which there are technical issues that require special expertise to reacive
of the only significant issue in the case is the amount of damages. .

Cases for Which Neutral Evatuation May Not Be Appropriate
Neutral evaluation may not be appropriate when there are significant personal or emotional barriers to resalving the dispute.

Settiement Conferences:

Settlement conferences may be either mandatory or voluntary. in both types of settlement conferences, the parties and their attorneys
Se ray adge of a neutral person called a ‘settlement officer’ to discuss possible settlement of their dispute. The judge or seslement
rr ta ot aka a decision in the case but assists the parties in evaluating the strengths and weaknesses of the case snd in

see tating a setiement. Setiement conferences are appropriate in any case where sattiement is an option. Mandatory setiement
conferences are often held close to the date a case is set for trial.

LAADR 005 (Rev. 12.0%) Page lof 2
LASC Approved 06-09

 

 
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LOS ANGELES SUPERIOR COURT ADR PROGRAMS
Chi
e Clvil Action Mediation (Governed by Code of Civil Procedure (CCP) sections 1775-1775.15, Caifornia Rules of Court, rules 3.850-3.868 and
3 890-3.808 Evidence Code sections 1115-1128, and Los Angeles Superior Court Rules, chapter 12.)
« Retired Judge Settiement Conference
® Neutral Evaluation (Govemed by Los Angeles Superior Court Rules, chapter 12.) :
e Judicial Arbitration (Governed by Code of Civil Procedure sections 1141.10-1141.31, California Rules of Court, rules 3.610-3.630, and Los
Angeles Superior Court Rules, chapter 12.) ”
© Eminent Domain Mediation (Goverted by Code of Cli Procedure section 1250.420.)
¢ Civil Harassment Mediation ,
« Small Claims Mediation
FAMILY LAW (non-custody):
« Medlation
° Forensic Certified Public Accountant (CPA) Settlement Conference
¢ Settlement Conference :
° Nonbinding Arbitration (Governed by Family Code section 2554.)
PROBATE:
e Mediation
s Settlement Conference

Parties may select a mediator, neutral evaluator, or arbitrator from the Court Party Select Panel or may hire someone privately, at their :
discretion. if the parties utilize the Random Select Mediation or Asbitration Panel, the parties will be assigned on a random basis the

name of one neutral who meets the case criteria entered on the court's website.

_ Party Select. The Paity Select Panel.consists of mediators, neutral evaluators, and arbitrators who have achieved a specified leve!
Panel of axperience in court-connected cases, The parties (collectively) may be charged $150.00 par hour for the first three

hours of hearing time. Thereafter, thé parties may be charged for additional hearing time on an hourly basis at rates
established by the neutral if the parties consent In writing. . : ‘ —
Random Select The Random Select Panel consists of trained mediators, neutral evaluators, and arbitrators who Nave not yet gained
Panel the experience to qualify for the Party Select Panel, ss well #8 experienced neutrals who make themselves evailabie
pro bono as a way of supporting the judicial system. It is the policy of the Court that all Random Select panel
volunteer mediators, neutral evaluators, and arbitratirs provide three hours hearing time per case. Thereafter, the
parties may be charged for additional hearing time on an hourly bssis at rates established by the neutral if the parties -
consent in writing. .
Private Neutral. The market rate for private neutrals can range from $300-$1,000 per hour.

For assistance regarding ADR, please contact the ADR clerk st the courthouse in which your case was filed.

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Partially Funded by the Los Angeles County Dispute Resotution Program
A complete list of the County Dispute Resolution Programs is available online and upon request in the Clark's Office.
LAAOR 006 (Rev. 12-09) Page 2 of 2
LASC Approved 05-09

 

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5 of 66 Page ID #:55

SUPERIOR COURT OF CALIFORNIA
COUNTY OF LOS ANGELES

Information About Alternative Dispute Resolution:

California Rules of Court, rule 3.221, requires counties participating in the Dispute Resolution Programs Act
("DRPA’), to provide information about the availability of local dispute resolution programs funded under
ORPA. In Los Angeles County, these services are made possible through major support from the Los
Angeles County Department of Community and Senior Services through DRPA. The list of the local
dispute resolution programs funded in Los Angeles County is set forth below.

SupaorCout of Calf, Ls Angles County ore tS) 974-5425

 

Staff and volunteers of the following identified agencies are not employees of the Los Angeles
Superior Court:

Asian-Pacific American Dispute Resolution Center (213) 250-8190 www.apadrc.org
California Academy of Mediation Professionals (818) 377-7250 www.med

 

Calfomia Lawyers fr the Arts, Arttration and Mediation Service (310) 998-6500 wow calawersforthearts om!
Center for Confict Resolution (818) 705-1090 www.ccr4peace.org
inland Valays Justice Center (909) 621-7479 wew.ivie.ora
Korean American Coalition 4,29 Center (213) 365-5909 www kacta.org
Los Angles Cy Ataney’s fice Opt Resnan Progam (219) 486824
Los Angeles County Bar Associaton Dispute Resolution Services
(877) 473-7658 (323) 990-1841 (888) 922-1322 (562) 570-1019 ww Jaca orars
Los Angeles County Department of Consumer Afar (213) 974-0825
The Layla Law School Centr for Confit Resckson (213) 73-1145 wor is eduer
iy of Norwalk Dispute Resohiton Program (562) 925-6603

 

 

These programa do not offer legal advice wr heb yourapaadisacemmane
pan they can assist in resolving your problem through | mediation.

Dispute Resolution Programs Act .
Contracts Administration Office: (213) 738-2621

 

 

 

{AAD ODT (a 040) INFORMATION ABOUT
LASC Approved 07-04 ALTERNATIVE DISPUTE RESOLUTION

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DEPENDANT:

Case 2:12-cv-04624-R

 

ATTORNEY

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|_ATTORNEY FOR (Marek.

SUPERIOR COURT OF CALIFORNIA, COUNTY OF LOS ANGELES
. COURTHOUSE ADORESE
Click on the button to select the appropriate court address.

 

Pe:

 

 

 

STIPULATION TO PARTICIPATE IN

 

56 of 66 Page ID #:56

 

 

ALTERNATIVE DISPUTE RESOLUTION (ADR)

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action, as follows:
(0 Mediation
(1 Non-Binding Arbitration
(1 Binding Arbitration
(0 Earty Neutral Evaluation
(C0 Settlement Conference

(Other ADR Process (describe):.

Dated:

 

 

Name of Stouiating Party
(J Pisinatt () Defendart (] Cross-defendant

Name of Party or Alorney Executing Stipulation

“Signature of Party or Aitomey

 

Name of Stpulaiing Party
C] Paintet (] Oefendart () Cross-defendant

Name of Party or Adomay Execiting Stpulstion

Signature of Party or Alomey

 

Name of Sdpuisting Party
(C) Ptarat () Defendant (] Cross-detendant

Name of Party or Atiomey Execding Stipulation

Signature of Party oF Atiomay

 

- Name of Stiputating Party

C) Plaintitt () Defenders C1) Cross-detendart

LAADR O07 10-08
LAS Approved
(Pore. G17)

Name of Party or Attorney Exaciing Stputation

(C) Additional signature(s) on reverses

. STIPULATION TO PARTICIPATE IN
ALTERNATIVE DISPUTE RESOLUTION (ADR)

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’ Signature of Party or Atormey"

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7 of 66 Page ID #:57

 

 

 

 

 

 

 

 

 

 

 

 

 

 

Name of Stipulsiing Party Hama ol Party or Atiomey Execiding Stipulation © Signaire of Party or Attorney
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EXHIBIT B
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Case 2:12-cv-04624-R

 

 
 

9of66 Page ID #:59

CM-015

 

ATTORNEY OR PARTY ATHOUT ATTORNEY Name State Bar number. and access}:
Matthew D. Powers (SB4 212682)
— O'Melveny & Myers LLP
Two Embarcadero Center, 28th Floor
San Francisco, CA 94111-3823
revepHone no: (415) 984-8700
E MAIL ADORESS (Cpamay TIPO Wers(domm.com
ATTORNEY FOR amet: Defendant, Neutrogena Corporation

FAX NO. (Opeonae (415) 984-8701

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SUPERIOR COURT Rite

MAY 0.82012

John A. Clarke, Eaccutve UtticerClerk
By L. Plazola, Deputy

 

SUPERIOR COURT OF CALIFORNIA, COUNTY OF LOS ANGELES
street anoress: 600 S. Commonwealth Ave.,
MAILING ADORESS:
city ano zp cove: Los Angeles, 90005
arancu name: Central Civil West

 

 

 

 

 

PLAINTIFF/PETITIONER: Mara Chow CASE NUMBER:
BC483371
DEFENDANT/RESPONDENT: Neutrogena Corporation JUDICIAL OFFICER:
Hon. Elihu Berle
DEPT:
NOTICE OF RELATED CASE 323

 

 

 

identify, in chronological order according to date of filing, all cases related to the case referenced above.

1. a. Title: Johns v. Neutrogena Corporation
b. Casenumber, BC481382
c. Court same as above
("] other state or federal court (name and address):
d. Department 307

o

f. Filing date: March 22, 2012

x a

Relationship of this case to the case referencad above (check all that apply):
[] involves the same parties and is based on the same or similar claims.

Case type: [__] limited civil unlimited civt [__] probate [—_] famity law [—] other (specify):

Has this case been designated or determined as “complex?” Yes [__] No

arises from the same or substantially identical transactions, incidents, or events requiring the determination of

the same or substantially identical questions of law or fact.

C1 involves claims against, title to, possession of. or damages to the same property.
(1 is likely for other reasons to require substantial duplication of judicial resources if heard by different judges.

(—"] Additional explanation is attached in attachment 1h
i. Status of case:
pending
(“J dismissed [—] with [1] without prejudice
(1 disposed of by judgment
2. a. Title:
b. Case number.
c. Court: [| same as above
(_] other state or federal court (name and address):

d. Department

 

Page i of 3
Form Approved for Optional Use “*
juckeual Counc of Caldiorne NOTICE OF RELATED CASE Cah, Rules of Court, rule 3.300
CMO15 [Rew ‘ay? 2007) oé (ly wera) courontO. ca gow
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Case 2:12-cv-04624-R-JC% Document 1 Filed 05/25/12 Pa Oof 66 Page ID #:60

    

 

 

 

 

 

CM-615
PLAINTIFF/PETITIONER: Mara Chow CASE NUMBER:
” OEFENOANT/RESPONDENT: Neutrogena Corporation BC483371
2. (continued)
@. Case type: (__] timited civt (__] unlimited civil [__] probate [__] famity law (_] other (speci):
f. Filing date:

g. Has this case been designated or determined as “complex?” [__] Yes [_] No
h. Relationship of this case to the case referenced above (check all that apply):
(__] involves the same parties and is based on the same or similar claims.
("—] arises from the same or substantiaily identical transactions, incidents, or events requiring the determination of
the same or substantiaily identical questions of law or fact.
C4 involves ciaims against, title to, possession of, or damages to the same property.
C_] is likely for other reasons to require substantial duplication of judicial resources if heard by different judges.
(_] Additional explanation is attached in attachment 2h
i. Status of case:
C_] pending
[] dismissed [—] with (1_] without prejudice
[—] disposed of by judgment

3. a. Title:

b. Case number.

c. Court (__] same as above

| other state or federal court (name and address):

d. Department :

@. Case type: [__] limited civi [[_] unlimited civil ("J probate [__] family aw [[_] other (specify):
. Filing date:
. Has this case been designated or determined as “complex?” . [_] Yes C] No
Relationship of this case to the case referenced above (check all that apply):
(] | invotves the same parties and is based on the same or similar claims.

[_] arises from the same or substantially identical transactions, incidents, or events requiring the determination of
the same or substantially identical questions of law or fact.

CI involves claims against, title to, possession of, or damages to the same property.
EC] js likely far other reasons to require substantial duplication of judicial resources if heard by differant judges.
(] Additional exptanation is attached in attachment 3h
i. Status of case:
[] pending
[J] dismissed [—] with (_] without prejudice
[] disposed of by judgment

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4. [(“"] Additional related cases are described in Attachment 4. Number of pages attached:

Date: May 8, 2012

 

 

 

Matthew D. Powers >
(TYPE OR PRINT MAME OF PARTY OF ATTORNEY) (SIGNATURE OF PARTY OF ATTORNEY?

 

CM-O15 [Rew duly 1, 2007) NOTICE OF RELATED CASE Page 2 of 3

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Case 2:12-cv-04624-R-J ocument 1 Filed 05/25/12 Pai 1of66 Page ID#:61

    

CM-01

 

PLAINTIFF/PETITIONER: Mara Chow CASE NUMBER

 

 

OEFENDANT/RESPONDENT Neutrogena Corporation B3C483371

 

PROOF OF SERVICE BY FIRST-CLASS MAIL
NOTICE OF RELATED CASE

(NOTE: You cannot serve the Notice of Related Case you are a party in the action. The person who served the notice must
complete this proof of service. The notice must be served on ail known parties in each related action or proceeding.)

| | am at least 18 years old and not a party to this action. | ama resident of or employed in the county where the mailing took
place, and my residence or business address is (specify):

O'Melveny & Myers LLP, 400 S. Hope Street, Los Angeles, CA 90071

2. | served a copy of the Notice of Related Case by enclosing it in a sealed envelope with first-class postage fully
prepaid and (check one):

a. CJ deposited the sealed envelope with the United States Postal Service.

b. placed the sealed envelope for collection and processing for mailing, following this business's usual practices,
with which | am readily familiar. On the same day correspondence is placed for collection and mailing, itis
deposited in the ordinary course of business with the United States Postai Service.

3. The Notice of Related Case was mailed:
a. on (date): May 8, 2012
b. from (city and state): Los Angeles, CA

4. The envelope was addressed and mailed as follows:

a. Name of person served: c. Name of person served:
Ryan J. Clark (Red Law, LLP)
Street address: 100 Wilshire Blvd, Suite 950 Street address:

City: Santa Monica City:
State and zip code: CA 90401 State and zip code:
b. Name of person served: d. Name of person served:
Street address: Street address:
City: City:
State and zip code: State and zip code:

(J Names and addresses of additional persons served ara attached. (You may use form POS-030(P).)

| declare under penaity of perjury under the laws of the State of California that the foregoing is true and correct.

 

 

 

Date: |May 8, 2012 |
/ OG -
Marie Lewis » Wh, LL 2a tll¢
LTYPE OR PRINT NAME OF CECLARANT) (SIGNATURE OF DECLARANTS

 

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Case 2:12-cv-04624-R-JC Document 1 Filed 05/25/12 Page 62 of 66 Page ID #:62
Case 2:12-cv-04624-R-JC Document 1 Filed 05/25/12 Page 63 of 66 Page ID #:63

UNITED STATES DISTRICT COURT
CENTRAL DISTRICT OF CALIFORNIA

NOTICE OF ASSIGNMENT TO UNITED STATES MAGISTRATE JUDGE FOR DISCOVERY

This case has been assigned to District Judge R. Gary Klausner and the assigned
discovery Magistrate Judge is Ralph Zarefsky.

The case number on all documents filed with the Court should read as follows:

CV12- 4624 RGK (RZx)

Pursuant to General Order 05-07 of the United States District Court for the Central
District of California, the Magistrate Judge has been designated to hear discovery related
motions.

All discovery related motions should be noticed on the calendar of the Magistrate Judge

NOTICE TO COUNSEL

A copy of this notice must be served with the summons and complaint on all defendants (if a removal action is
filed, a copy of this notice must be served on ail plaintiffs).

Subsequent documents must be filed at the following location:

[X] Western Division Southern Division Eastern Division
312 N. Spring St., Rm. G-8 411 West Fourth St., Rm. 1-053 3470 Twelfth St., Rm. 134
Los Angeles, CA 90012 Santa Ana, CA 92701-4516 Riverside, CA 92501

Failure to file at the proper location will result in your documents being returned fo you.

 

CV-18 (03/06) NOTICE OF ASSIGNMENT TO UNITED STATES MAGISTRATE JUDGE FOR DISCOVERY
Case 2:12-cv-04624-R-JC Document1 Filed 05/25/12 Page 64 o0f 66 Page ID #:64
Case 2:12-cv-04624-R-JC Document1 Filed 05/25/12 Page 65o0f66 Page ID #:65

UNITED STATES DISTRICT COURT, CENTRAL DISTRICT OF CALIFORNIA

CIVIL COVER

SHEET

 

f(a) PLAINTIFFS (Check box Hf vou are representing yourself [)}
Mara Chow, individually and on behalf of all others sumiarly situated

DEFENDANTS

Neutrogena Corporation. a Delaware Corporation

 

(b) Attomeys (Firm Name, Address and Telephone Number. If vou are representing

vourself, provide same.)

Ryan J. Clarkson and Edward D. Dubendorf, Red Law LLP, 100 Wilshire Bivd.,

Sune 930, Santa Monica, CA 90401. Tel: (310) 917-1070

 

Attorneys (Uf Known}

Matthew Powers, O'Melveny & Mvers, Two Entbarcadero Center, San
Francisco, CA 94111, Tel (415) 984-8700: Richard Goetz & Jacivn Blankenship,
O'Melveny & Myers, 400 South Hope St, Los Angeles, CA 90071

 

 

 

IL BASIS OF JURISDICTION (Place an X in one box only.) HL CITIZENSHIP OF PRINCIPAL PARTIES - For Diversity Cases Only
(Place an X in one box for plaintiff and one for defendant}
CULLULS. Government Plainutt (13 Federal Question (US , DEF PTF a
Government Not a Party) Citizen of This State M1 [D1 Incorporated or Principal Place [14 4
oft Business in this State
LEZ OLS. Government Defendant 4 Diversity (indicate Citizenship | Citizen of Another State w (32 Incorporated and Principal Place [35 5
of Parties in Item 1D of Business in Another State
Citizen or Subject of a Foreign Country £13 013 Foreign Nation 6 6
IV. ORIGIN (Place an X in one box only.)
Cli Original v2 Removed from (3 Remanded from (14 Reinstatedor [15 Transferred from another district (specify), © 6 Multi- (17 Appeal to District

Proceeding State Court

Appellate Court

Reopened

Judge from
Magistrate Judge

District
Litigation

V. REQUESTED IN COMPLAINT. JURY DEMAND: iW Yes CJ No (Check ‘Yes’ only if demanded in complaint.)
of MONEY DEMANDED IN COMPLAINT: § Not pled, but will be > $5 million

CLASS ACTION under F.R.C.P, 23: M Yes (No

VEL CAUSE OF ACTION (Cite the U.S. Civil Statute under which you are filing and write a brief statement of cause. Do not cite Jurisdictional statutes unless diversity.)
Class Action alleging, inter alia, violation of Cal. Bus. & Prof. Code 17200 et seq. Minimal Diversity pursuant to 28 USC 1332(b)

VE. NATURE OF SUIT (Place an X in ene box only.)

 

 

 

 

 

 

 

 

 

 

 

 

 

 

OTHER STATUTES CONTRACT TORTS TORTS PRISONER LABOR
State Reapportionment [[] 110) Insurance PERSONAL INJURY PERSONAL PETITIONS C1710 Fair Labor Standards
} Antitrust (1120 Marine (4310 Airplane PROPERTY (1510 Motions to Act
Banks and Banking [130 Miller Act CJ315 Airplane Product {9 370 Other Fraud Vacate Sentence | 720 Labor/Memt
Commerce/iCC L140 Negotiable Instrument Liability (3371) Truth in Lending Habeas Corpus Relations
Rates/etc. C1150 Recovery of LJ 320 Assault, Libel & 1] 380 Other Personal [1 530 General (3730 Labor/Memt.
£1460 Deportation Overpayment & : Slander ; Property Damage J 535 Death Penalty Reporting &
(3470 Racketeer Influenced Enforcement of 11330 Fed. Employers (385 Property Damage {7 540 Mandamus/ Disclosure Act
and Corrupt Judgment 340 yey Product Liability Other £1740 Railway Labor Act
Organizations CUIS! Medicare Act [346 Marine Product BANKRUPTCY (9550 Civil Rights £] 790 Other Labor
Consumer Credit (1 152 Recovery of Defaulted - Liability £7422 Appeal 28 USC [£7555 Prison Condition Litigation
Cable/Sat TV Student Loan (Excl. 1350 Motor Vehicle 158 FORFEITURE / 791 Empl. Ret. Inc.
Selective Service Veterans) [1455 Motor Vehicte (1423 Withdrawal 28 PENALTY Security Act
Securities/Commodities/ |[] 153 Recovery of Product Liability USC 157 (9610 Agriculture PROPERTY RIGHTS
Exchange Overpayment of [1360 Other Personal _ CIVIL RIGHTS {1620 Other Food & [820 Copyrights
5S Customer Challenge i2 Veteran's Benefits Injury (1441 Voting Drug (1 830 Patent
USC 3410 [3160 Stockholders’ Suits 1362 Personal Injury- [1442 Employment [1625 Drug Related £840 Trademark
Other Statutory Actions [7 190 Other Contract Med Malpractice [[1443 Hoeusing/Acco- Seizure of SOCIAL SECURITY
Agricultural Act (3 195 Contract Product £1365 Personal Injury- mmodations Property 21 USC [[] 861 HIA (1395
Economic Stabilization Liability Product Liabiliey C1444 Welfare 88) £1 862 Black Lung (923)
Act (5 196 Franchise (1368 Asbestos Personal (0 445 Amenecan with ((1 630 Liquor Laws £863 DIWC/DIWW
Environmental Matters REAL PROPERTY injury Product Disabilities - C1640 RR. & Truck (405(2))
Energy Allocation Act {£7210 Land Condemnation Liability Employment (1650 Airline Regs 0) 864 SSID Title XVI
5 Freedomofinfo Act {[ 220 Foreclosure IMMIGRATION (1446 American with [[ 660 Occupational [7865 RSI (405(2))
} Appeal of Fee Determi- [7 230 Rent Lease & Ejectment | 462 Naturalization Disabilities - Safety /Health FEDERAL TAX SUITS
nation Under Equal 0 240 Torts to Land Application Other (9690) Other (1870 Taxes (U.S. Plaintuit
Access to Justice (1248 Tort Product Liability (4463 Habeas Corpus im 44g Other Civil or Defendant)
[980 Constitutionality of £3290 All Other Real Property | Alten Detainee Rights (871 IRS-Third Party 26
State Statutes C1465 Other Immigration USE 7609
Actions
evi2-
FOR OFFICE USE ONLY: Case Number:
APTER COMPLETING THE FRONT SIDE OF FORM CV-71, COMPLETE THE INFORMATION REQUESTED BELOW.
CVF CEVIL COVER SHEET Page | of 2

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- Case 2:12-cv-04624-R-JC Document 1 Filed 05/25/12 Page 66 of 66 Page ID #:66

UNITED STATES DISTRICT COURT, CENTRAL DISTRICT OF CALIFORNIA
CIVIL COVER SHEET

 

Villa). IDENTICAL CASES: Has this action been previously filed in this court and dismissed, remanded or closed? No Cl Yes
If yes, ist case number(s)

 

 

V(b). RELATED CASES: Have anv cases been oreviously filed in this court that are related to the present case? © No M Ves
if ves, list case number(s} / Co vi i“ we c

Civil cases are deemed related if a previously filed case and the present case:

(Check all boxes that apply) MA. Anise from the same or closely related transactions, happenings. or events: or
AB. Call for determination of the same or substantially related or similar questions of law and fact: or
LC. For other reasons would entail substantial duplication of labor if heard by different judges: or

   

(] D. Involve the same patent, trademark or copyright, and one of the factors identified above in a,b or ¢ also is present.

 

IX. VENUE: (When completing the following information, use an additional sheet if necessary.)

(a) List the County in this District: California County outside of this District: State if other than California; or Foreign Country. in which EACH named plainutf resides
C) Check here ifthe government, its agencies or employees is a named plaintiff. If this box is checked, go to item (b)

 

County ia this District * California County outside of this District: State, if other than California: or Foreign Country

 

Los Angeles

 

 

 

ib) List the County in this District, California County outside of this District: State if other than California: or Foreign Country, in which EACH named defendant resides.
f__Check here ifthe government, its agencies or employees is a named defendant. If this box is checked, go to item (c).

 

County in this District:* California County outside of this District: State, if other than California: or Foreign Country

 

Principal place of business: Los Angeles Incorporation: Delaware

 

 

fc) Last the County in this District, California County outside of this District: State if other than California: or Foreign Country. in which EACH ciaim arose.
Note: In land condemnation cases, use the location of the tract of land involved.

 

County in this District: * Califomia County outside of this District: State, if other than California: or Foreign Country

 

Los Angeles (for named Plaintiff) and throughout California and the
United States for putative class members.

 

 

 

* Los Angeles, Orange, San Bernardino, Riverside, Ventura, Santa Barbara, or San Luis Obispo Counties
Note: In land condemnation cases, use the location of the tract of land involved

= 7 >
“ a t i™ ae DE
X, SIGNATURE OF ATTORNEY (OR PRO PER): Ago Alon Gk f/_ Date May 25, 2012
ff

Notice to Counsel/Parties: The CV-7! ashy ci Cover Shéet and the information contained herein neither replace nor supplement the filing and service of pleadings
or other papers as required by law. This form, app d by the Judicial Conference of the United States in September 1974, is required pursuant to Local Rule 3-1 is not filed
but is used by the Clerk of the Court for the purpose of statistics, venue and initiating the civil docket sheet. (For more detailed instructions, see Separate instructions sheet.)

 

Key to Statistical codes relating to Social Security Cases:

Nature of Suit Code — Abbreviation Substantive Statement of Cause of Action

86) HIA All claims for health insurance benefits (Medicare) under Title 18. Part A. of the Secial Security Act. as amended
Also, include claims by hospitals, skilled nursing facilities, etc., for certification as providers of services under the
program. (42 U.S.C, 1935FF(b))

862 BL All claims for “Black Lung” benefits under Title 4, Part B, of the Federal Coal Mine Health and Safety Act of 1969
GO0US.C. 923)

863 DIWC All claims fled by insured workers for disability insurance benefits under Title 2 of the Social Security Act, as
amended, plus all claims filed for child’s insurance benefits based on disability, (42 U.S.C 405(g))

863 DIWW All claims filed for widows or widowers insurance benefits based on disability under Title 2 of the Social Security
Act. as amended, (42 U S.C. 405(2)}

B64 SSID All claims for supplemental security income payments based upon disability filed under Title 16 of the Social Security
Act, a8 amended.

865 RSI All clanns for retirement (old age) and survivors benefits under Title 2 of the Social Security Act, as amended. (42
USC. ig)

 

CV-7) (05/08) CIVIL COVER SHEET Page 2 of 2

 

 
